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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                          §
                                §
GARRISON MUNICIPAL PARTNERS, LP §                                 Case No. 14-32867
                                §                                    (Chapter 7)
    DEBTOR.                     §
                                §


                    CHAPTER 7 TRUSTEE’S REPLY TO THE GREEN’S
                        RESPONSE TO OMNIBUS OBJECTION

TO THE HONORABLE KAREN BROWN, UNITED STATES BANKRUPTCY JUDGE:

         Rodney D. Tow, the chapter 7 trustee (the “Trustee”) for the estate of Garrison Municipal

Partners L.P. (the “Partnership” or “Debtor”) respectfully submits this Reply to the Green’s

Response to the Omnibus Objection [Docket No. 252].

                                     Procedural Background

         1.      On June 12, 2017, the Trustee filed the Omnibus Objection to Proofs of Claim

 Filed by Limited Partners of Garrison Municipal Partners, L.P. (the “Omnibus Objection”),

 seeking to subordinate and reclassify the claims of the Limited Partners of the Limited

 Partnership (the “Claimants”) as equity interests pursuant to Section 510(b) of the Bankruptcy

 Code, 11 U.S.C. §§ 101 – 1532 (as amended, the “Bankruptcy Code”).

         2.      The Claimants became limited partners in the Debtor by investing in the Debtor

 through various subscription agreements. Don Green and Kay Green (the “Greens”) were

 Limited Partners in the Partnership.

         3.      On May 22, 2014 (the “Petition Date”), the Debtor filed a voluntary petition

 under chapter 7 of the Bankruptcy Code with the United States Bankruptcy Court for the

 Southern District of Texas, Houston Division (the “Court”).

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           4.      The Trustee requests that the Court take judicial notice of the Green’s proof of

    claim against the Debtor, filed on this Court’s docket on August 20, 2014, in the amount of

    ONE MILLION NINE HUNDRED SIXTY-NINE THOUSAND TWO HUNDRED NINETY-

    SEVEN dollars and SIXTY-FIVE cents ($1,969,297.65) (the “Claim”). [Claim No. 2]1.                         A

    copy of the Claim is attached hereto as Exhibit A.

           5.      Based on the Trustee’s review, the Trustee determined that the claims of the

    Claimants, including the Green’s Claim, should be reclassified as equity interests pursuant to

    Section 510(b) of the Bankruptcy Code and filed the Omnibus Objection on June 12, 2017 in

    support thereof.

           6.      On September 7, 2017, the Court held a hearing on the Omnibus Objection (the

    “Hearing”).

           7.      On September 7, 2017, the date of the Hearing, the Greens filed an untimely

    response to the Omnibus Objection. See Docket No. 252.

           8.      At the Hearing, the Trustee objected to the untimeliness of the Green’s objection,

    which the Court overruled.

           9.      At the Hearing, the Trustee argued that the claims of the Claimants should be

    subject to mandatory subordination pursuant to Section 510(b) of the Code.

           10.     The Court requested briefing from the Greens and the Trustee in support of their

    respective positions.

           11.     On September 14, 2017, the Greens filed Don and Kay Green’s Brief Regarding

    Mandatory Subordination Under 11 U.S.C. § 510(b) (the “Green’s Brief”). [Docket No. 274].



1
          As an exhibit to Claim No. 2, the Greens attached an excerpt from the Limited Partnership’s Partnership
          Agreement. The Trustee has attached a complete copy of the Agreement in accordance with Federal Rule
          of Evidence 106 with Exhibit A hereto.

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           12.       The Trustee files this Reply to the Green’s Response to the Omnibus Objection

    (the “Reply”).

                                                   Relief Requested

           13.       The Trustee seeks entry of proposed findings of facts and conclusions of law,

    substantially in the form attached hereto (the “Order”), reclassifying the Claims of the

    Claimants as equity claims, eliminating duplicative claims, and allowing the equity claims of

    the Claimants in amounts reflecting each individual Claimant’s cash and non-cash transactions

    with the Debtor (the “Allowed Claim Amount”).

                                                Factual Background2

           14.       The Greens are former owners of limited partnership interests in the Debtor.

           15.       Article 5.5 of the Limited Partnership Agreement of the Debtor (the

    “Agreement”), provides the Greens with the opportunity to voluntarily withdraw their limited

    partnership interest in the Debtor by means of written notice. [Claim No. 2, Ex. C, at ¶ 5.5(b)].

           16.       Between September 27, 2012 and November 22, 2013, at least seven (7) other

    Claimants gave written notice to the Debtor of their intent to withdraw from the Partnership

    (attached hereto as Exhibit B).

           17.       On November 13, 2013, the Greens gave written notice to the Debtor of their

    intent to withdraw their limited partnership interest in the Debtor. [Claim No. 2, Ex. B].

           18.       The Greens allege that the effective date of the withdrawal of their partnership

    interest was no later than December 31, 2013. [Claim No. 2, Attachment Cover, at ¶¶ 3-4].




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          Pursuant to the Court’s request that the parties agree to stipulated facts, the Trustee is stipulating to the
          authenticity and admissibility of the documents attached to the Claim and the facts as set forth in the
          Green’s Brief which facts are restated in this Reply.

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       19.     The Debtor filed a voluntary petition for chapter 7 bankruptcy on the Petition

Date, well after the alleged effective date of the Green’s withdrawal of their partnership interest.

[Docket No. 1].

       20.     At the time the Debtor filed its bankruptcy petition, it had not yet paid the Greens

pursuant to Article 5.5 of the Agreement. The Greens filed the Claim in this bankruptcy case,

asserting their claim such amounts as a general unsecured creditor.

                                      Memorandum of Law

       21.     The Green’s Brief draws tenuous analogies between Fifth Circuit case law to the

matter at hand in an attempt to show that the Claim is a redemption claim outside the scope of

Section 510(b). However, the issue before the Court is clear-cut and the Green’s Claim falls

squarely within the mandatory subordination provisions of the Code. Section 510(b) of the

Bankruptcy Code requires subordination of claims for damages arising from the purchase of

securities. The Green’s Claim is for damages for breach of the Agreement, which arises from

their purchase of an ownership interest in the Debtor. Additionally, the body of Section 510(b)

case law holds that subordination of the Green’s Claim effectuates the great principles of

bankruptcy law and the legislative policy of Section 510(b), which is that creditors should be

paid ahead of equity holders. For the reasons set forth below, the Court should re-characterize

and subordinate the Claim to the level of equity.

A.    Section 510(b) Requires Mandatory Subordination of the Green’s Claim

       22.     Section 510(b) of the Code provides that:

              For the purpose of distribution under this title, a claim arising from rescission
              of a purchase or sale of a security of the debtor or of an affiliate of the debtor,
              for damages arising from the purchase of sale of such a security, or for
              reimbursement or contribution allowed under section 502 on account of such
              a claim, shall be subordinated to all claims or interests that are senior to or
              equal the claim or interest represented by such security, except that if such
              security is common stock, such claim has the same priority as common stock.

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       23.     The Green’s Claim falls squarely within the scope of 510(b) as intended by

Congress and as interpreted by circuit courts, including the Fifth Circuit, for two reasons. First,

the Claim is a claim for breach of contract damages arising from the Debtor’s breach of the

Agreement. Second, the Claim arises from the purchase and sale of a security interest in the

Debtor.

              1.    The Claim is for Damages Arising for Breach of Contract

       24.     The Green’s Brief makes abundantly clear that the Claim seeks damages for

injuries resulting from breach of contract under the Agreement. Green’s Brief, pp. 19-20. The

Greens sought to withdraw their equity investment in the Debtor, pursuant to the voluntary

withdrawal provisions of the Agreement. Id. There is no evidence that the Debtor satisfied the

Green’s withdrawal request, nor is there evidence that the Debtor issued the Greens a

promissory note or any other debt instrument or guarantee of repayment. Instead, the Debtor

filed for bankruptcy on the Petition Date and the Greens filed the Claim.

       25.     For the purposes of “damages,” the majority of courts confronting subordination

cases have read Section 510(b) broadly, encompassing a variety of claims, including breach of

contract. SeaQuest Diving, L.P. v. S&J Diving, Inc. (In re SeaQuest Diving, L.P.), 579 F.3d

411, 421 (5th Cir. 2009)(stating that a claim arising from the purchase or sale of a security can

include claims based on post-issuance breach of contract); Official Committee of Unsecured

Creditors v. Fli Deep Marine LLC (In re Deep Marine Holdings, Inc.), 2011 WL 160595, at *7

(Bankr. S.D. Tex. January 19, 2011)(stating that the policies underlying Section 510(b) support

a broad construction of its scope); Baroda Hill Investments, Ltd. v. Telegroup, Inc. (In re

Telegroup, Inc.), 281 F.3d 133, 142 (3rd. Cir. 2002)(reasoning that Section 510(b) prevents

claimants from using breach of contract claims to recover the value of their equity investment in

parity with general unsecured creditors); Pensco Trust Co. v. Tristar Esperanza Properties, LLC
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(In re Tristar Esperanza Properties, LLC), 782 F.3d 492, 495 (9th Cir. 2015) (holding that for

510(b) purposes a claim that an LLC failed to pay an amount due under the operating agreement

for the repurchase of membership interests was a breach of contract claim). As noted by the

Fifth Circuit, “the circuit courts agree that a claim arising from the purchase or sale of a security

can include a claim predicated on post-issuance conduct — i.e., conduct after the issuance of the

security — such as breach of contract.” Templeton v. O’Cheskey (In re Am. Housing Found.),

785 F.3d 143, 154 (5th Cir. 2015).

          26.   The Green’s Claim is that the Debtor failed to pay them the amount due under

the Agreement as a result of their voluntary withdrawal, which is a claim for the Debtor’s

breach of contract. See In re Tristar, 782 F.3d at 495 (holding that for the purposes of Section

510(b), an investor’s claim that an LLC failed to pay her the amount she was due under the

operating agreement for the purchase of her membership interest was a breach of contract

claim).

          27.   The Greens have attempted to cloak their Claim as a redemption claim in order

to avoid Section 510(b) mandatory subordination and to recoup their equity investment.

Green’s Brief, p. 19. The Court should immediately view the Green’s position with mistrust.

As other courts have noted, “[w]hen a corporation becomes bankrupt, the temptation to lay

aside the garb of a stockholder, on one pretense or another, and to assume the role of a creditor,

is very strong, and all attempts of that kind should be viewed with suspicion.” Rombro v.

Dufrayne (In re Med. Diversified, Inc.), 461 F.3d 251, 258 (2nd Cir. 2006). Additionally, the

Fifth Circuit is clear on this point: the fact that the Greens are “effectively attempting to recoup

[their] equity investments in the [Debtor] through [the Claim] supports the application

of Section 510(b) here.” In re Am. Housing Found., 785 F.3d at 155; see also In re Telegroup,



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    281 F.3d at 142 (stating that in the 510(b) analysis, more important than the timing of actionable

    conduct is the fact that a claim seeks to recover a claimant’s equity investment).

                  2.    The Claim Arises from the Purchase of Security Interests in
                        the Debtor

           28.     In this case, it is clear that the Claim arises from the purchase of a security within

    the meaning of Section 510(b).3

           29.     Recognizing that the term “arising from” is ambiguous, the Fifth Circuit and

    other courts have turned the legislative history of Section 510(b). The courts have determined

    that “for a claim to ‘arise from’ the purchase or sale of a security, there must be some nexus or

    causal relationship between the claim and the sale.” In re SeaQuest, 579 F.3d at 421 (citing In

    re Telegroup, 281 F.3d at 138). In terms of policy considerations, “the fact that the claims in

    the case seek to recover a portion of the claimant’s equity investment is the most important

    policy rationale.” Id. (stating that when an investor seeks pari passu treatment with creditors,

    he disregards the absolute priority rule and attempts to establish a contrary principle that

    threatens to swallow this fundamental rule of bankruptcy).

           30.     Therefore, the crucial question for the Court is to determine how the Claim arises

    and whether there is a causal nexus between the claim and the purchase of the security. See In

    re Tristar Experanza, 782 F.3d at 497; see also In re SeaQuest, 579 F.3d at 421.

           31.     This very Court has previously decided similar questions in favor of the

    Trustee’s position. In In re Marine Deep Holdings, investors brought a pre-petition suit against

    a company for confiscating their shares in a short-form merger, and subsequent to the

    bankruptcy petition, filed proofs of claim. 2011 WL 160595, at *1. In that case, this Court was

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          There does not seem to be a dispute over the fact that the Bankruptcy Code expressly defines the term
          “security” to “include [an] interest of a limited partner in a limited partnership.” 11 U.S.C. §
          101(49)(A)(xiii).


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confronted with deciding whether Section 510(b) includes claims that arise during the course of

a claimant’s ownership of a security or, instead, whether Section 510(b) only encompasses

claims for damages incurred through the actual purchase or sale of a security. Id. at 4.

       32.       This Court noted that the purpose of Section 510(b) is to “prevent disappointed

shareholders from recovering their investment loss by using fraud and other securities claims to

bootstrap their way to parity with general unsecured creditors in a bankruptcy proceeding.” Id.

at 6 (quoting In re Telegraph, 281 F.3d at 142). The Court then stated that “there is no reason to

use the time in which security-holders’ claims arise as a basis for treating security-holders’

claims differently in a bankruptcy proceeding.” Id. (observing that the purpose of Section

510(b) is to prevent shareholders from receiving equal treatment with unsecured creditors); see

also Am. Broadcasting Sys., Inc. v. Nugent (In re Betacom of Phoenix, Inc.), 240 F.3d 823, 829

(9th Cir. 2000)(stating that nothing in Section 510(b) requires a subordinated claimant to be a

shareholder). Based on this reasoning and the policy purposes of Section 510(b), the Court held

that the investor’s claims were causally linked to their status as shareholders and that mandatory

subordination was required. Id. at 7.

       33.       The Ninth Circuit’s holding in In re Tristar is also factually similar and

instructive to the case at hand.     In In re Tristar, an LLC investor exercised her right to

voluntarily withdraw from the company. 782 F.3d at 494. After a dispute between the investor

and the LLC regarding the valuation of the investor’s interest, the investor obtained an

arbitration award and state-court judgment. Id. The company then filed for bankruptcy and the

investor filed a proof of claim, which the company sought to subordinate under Section 510(b)

of the Code. Id. The Ninth Circuit held that the investor’s claim was subject to mandatory

subordination.



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       34.     The investor first argued that her claim was not for damages, but for a fixed debt.

Id. at 495. The Ninth Circuit disagreed, holding that the investor’s claim that the company

failed to pay her for the purchase of her membership in accordance with the operating

agreement interest was a breach of contract damages claim. Id. at 495.

       35.     Next, similar to the Green’s Claim, investor argued that her claim did not arise

from the purchase or sale of a security because her equity claim was converted into a debt claim

prior to the bankruptcy petition. Id. at 496. Observing that the investor had exercised her right

to withdraw from the LLC, the Ninth Circuit nonetheless categorically disagreed with this

argument. Id. The court noted that although the investor did not enjoy the benefits of equity

ownership on the petition date, she bargained for an equity position and thus embraced the risks

of that position. Id. The Ninth Circuit reasoned that the critical question for the purposes of

510(b), as clearly shown in the statutory text, “is not whether the claim is debt or equity at the

time of the petition, but rather whether the claim arises from the purchase or sale of a security.”

Id. 497 (emphasis in original)(noting that although the investor was a creditor on the petition

date, the status of the claim on the petition date does not end the 510(b) inquiry). Because the

investor’s claim arose from the failed sale of her membership interest and the LLC’s breach of

the operating agreement’s provisions regarding repurchase of membership interests, the Ninth

Circuit had “no doubt as to whether her claim for damages ‘[flowed] from’ the purchase or sale

of a security of the debtor” and upheld the subordination of the investor’s claim. Id. at 498.

       36.     Based on this case law, it is evident that the Green’s Claim arises from their

purchase of an ownership interest in the Debtor. The Green’s Brief makes clear that their Claim

relates directly to their purchase of equity interests in the Debtor. Green’s Brief, pp. 1-2. The

Green’s Claim further arises from the failed withdrawal of their ownership interest in the



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Limited Partnership, and the Debtor’s breach of the Agreement regarding satisfaction of that

withdrawal. Green’s Brief, p. 2. This Court has previously decided that there is no reason to

use the time in which the Green’s Claim arose as a basis for treating them differently from any

of the other Claimants. See In re Marine Deep Holdings, 2011 WL 160595 at *6.

       37.     The Bankruptcy Court for the District of Delaware alluded to in the Green’s

Brief to support their position that they converted from an equity position to a creditor position

are entirely inapposite in this case. Green’s Brief, pp. 11-12 (citing In re SeaQuest, 579 F.3d at

422-23). In both In re Montgomery Ward Holding Corp and In re Mobile Tool Int'l, Inc., the

Delaware court held that a claim based on a promissory note is not subject to subordination

under Section 510(b). Montgomery Ward Holding Corp. v. Schoeberl (In re Montgomery Ward

Holding Corp.), 272 B.R. 836, 844–45 (Bankr. D. Del. 2001); Official Committee of Unsecured

Creditors v. Am. Capital Fin. Servs., Inc. (In re Mobile Tool Int'l, Inc.), 306 B.R. 778, 782

(Bankr. D. Del. 2004). As stated in In re Mobile Tool, the fundamental concept underlying the

Delaware court’s decisions in those cases is that the “Defendants did exchange their stock for a

debt instrument.” 306 B.R at 781. The Delaware court distinguished the facts in In re Mobile

Tool and In re Montgomery Ward from other 510(b) cases specifically on the basis that the

other cases “involved neither a separate promissory note nor a debt instrument.” Id.

       38.     Similarly, in its discussion of In re Montgomery Ward and In re Mobile Tool, the

Fifth Circuit clearly pointed out that the Delaware court’s basis for holding that the equity

claimant’s position changed is that the claimants exchanged stock for a promissory note. In re

SeaQuest, 579 F.3d at 423. In this case, there is simply no evidence whatsoever that the Debtor

ever provided the Green’s with a promissory note, debt instrument, or any other promise to

repay. To the contrary, the Green’s Claim arises from their failed withdrawal from the Limited



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Partnership and the Debtor’s breach of the Agreement’s provisions regarding satisfaction of the

Green’s withdrawal.

       39.     As in In re Tristar, the direct causal link between the Green’s Claim and their

ownership of an equity interest in the Debtor clearly shows that their Claim arises from the

purchase of a security of the Debtor. See, 782 F.3d at 498. The Green’s assertion that they are

entitled to treatment as general unsecured creditors “is exactly the elevation of form over

substance that Section 510(b) seeks to avoid—by subordinating claims that functionally seek to

‘recover a portion of claimants' equity investment[s].’” In re Am. Housing Found., 785 F.3d at

154 (quoting In re SeaQuest, 579 F.3d at 421).

B.    Subordination of the Green’s Claim Effectuates the Purpose of Section 510(b)

       40.     The re-characterization and mandatory subordination of the Green’s claim is

consistent with Congress’ goals in enacting Section 510(b) of the Code, which “serves to

effectuate one of the general principles of corporate and bankruptcy law: that creditors are

entitled to be paid ahead of shareholders in the distribution of corporate assets.” SeaQuest, 579

F.3d at 417.

       41.     Congress drew inspiration for 510(b) from an article authored by Professors John

Slain and Homer Kripke in 1973 regarding the allocation of risk between investors and

creditors. In re Deep Marine Holdings, 2011 WL 160595 at *5. According to Slain and

Kripke, the risk of illegality in the issuance of securities should be borne by investors. Id. at 6.

The basis for this premise is that “it would be improper to reallocate this risk to creditors who

(1) never bargained for an equity position in the debtor and (2) extended credit to the debtor in

reliance on the equity cushion provided by the investors.” In re SeaQuest, 579 F.3d at 420.

       42.     In enacting Section 510(b), Congress intended to “prevent disappointed

shareholders from recovering their investment loss by using fraud and other securities claims to
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bootstrap their way to parity with general unsecured creditors in a bankruptcy proceeding.” In

re Deep Marine Holdings, 2011 WL 160595 at *6. Otherwise, investors would unfairly be

given a claim to the upside if the company prospers and participation with creditors if the

company fails. Id. As a result, Section 510(b) binds a claimant to their decision to take an

equity stake in the debtor. Id.

       43.     The fact that the Greens seek to recover a portion of their equity investment is

the most important policy consideration for the Court. Id. at 7. In attempting to obtain pari

passu treatment with the Debtor’s creditors, the Greens disregard the absolutely priority rule

and attempt to establish a contrary principle to the fundamental rule of bankruptcy law that

creditors should be paid ahead of shareholders. Id.




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       WHEREFORE, the Trustee respectfully requests entry of the Order granting the relief

requested herein and such other and further relief as the Court may deem proper.



DATED: September 20, 2017
                                                    Respectfully submitted,

                                                    DIAMOND MCCARTHY, LLP

                                                    /s/ Charles M. Rubio___________________
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                                                    GENERAL COUNSEL TO
                                                    RODNEY D. TOW, TRUSTEE



                                   CERTIFICATE OF SERVICE

I certify that on September 20, 2017, a true and correct copy of the foregoing document was
served by (i) the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas to all parties registered to receive such service; (ii) within one
business day transmitted to the parties listed on the attached Service List by the method
indicated; and (iii) within one business day transmitted to counsel for the Greens by fax as set
forth below.


                                                    /s/ Charles M. Rubio
                                                    Charles M. Rubio


       Reese Baker, Esq.
       Fax: (713) 869-9100




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                                     Service List
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Debtor                                       Secured Creditors

C. Monroe Garrison                           Sunny Hudson
Garrison Municipal Partners, LP              Deutsche Bank
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                                             Senior Vice President
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Via ECF                                      Via First Class Mail

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Via ECF                                      Dallas, Texas 75201-4629

Counsel for Chapter 7 Trustee                Christina Ponig
                                             DLA PIPER LLP (US)
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Houston, Texas 77010                         SecondMarket, Inc.
Via ECF                                      Robert O’Hare Jr.
                                             O’Hare Parnagian LLP
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Via First Class Mail
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Investors                                     820 Ramona Street, Suite 200
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                                              Austin, TX 78735-1468
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                                              Houston, Texas 77057-1302
HRB Global                                    Via First Class Mail
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                                    Case No. 14-32867



MVH Grandchildren's Trust                      C. Monroe Garrison
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                                               Via First Class Mail
ECP 2012 Trust, Chris Vonder Hoya
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                                               Via First Class Mail
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                             Exhibit A

                              Claim
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                                                                   EXHIBIT I




                               GARRISON MUNICIPAL PARTNERS, LP



                                    A Texas Limited Partnership




                                   Limited Partnership Agreement




                                           April 1, 2008




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                               NOTICE

      NEITHER GARRISON MUNICIPAL PARTNERS, LP NOR THE LIMITED
PARTNER INTERESTS THEREIN HAVE BEEN OR WILL BE REGISTERED UNDER THE
SECURITIES ACT OF 1933, AS AMENDED, THE INVESTMENT COMPANY ACT OF
1940, AS AMENDED, OR THE SECURITIES LAWS OF ANY OF THE STATES OF THE
UNITED STATES. THE OFFERING OF SUCH LIMITED PARTNER INTERESTS IS BEING
MADE IN RELIANCE UPON AN EXEMPTION FROM THE REGISTRATION
REQUIREMENTS OF TIlE SECURITIES ACT OF 1933, AS AMENDED. FOR OFFERS
AND SALES OF SECURITIES WHICH DO NOT INVOLVE ANY PUBLIC OFFERING,
AND ANALOGOUS EXEMPTIONS UNDER STATE SECURITIES LAWS.

     THE DELIVERY OF THIS LIMITED PARTNERSHIP AGREEMENT SHALL NOT
CONSTITUTE AN OFFER TO SELL OR THE SOLICITATION OF AN OFFER TO BUY
NOR SHALL THERE BE ANY OFFER, SOLICITATION OR SALE OF INTERESTS IN
GARRISON MUNICIPAL PARTNERS, LP IN ANY JURISDICTION [N WHICH SUCH
OFFER, SOLICITATION OR SALE IS NOT AUTHORJZED OR TO ANY PERSON TO
WHOM IT IS UNLAWFUL TO MAKE SUCH OFFER, SOLICITATION OR SALE.

     THESE SECURITIES ARE SUBJECT TO RESTRICTIONS ON TRANSFERABILITY
AND RESALE, MAY NOT BE TRANSFERRED OR RESOLD EXCEPT AS PERMITTED
UNDER THE SECURITIES ACT OF 1933, AS AMENDED, AND APPLICABLE STATE
SECURITIES LAWS PURSUANT TO REGISTRATION OR EXEMPTION THEREFROM
AND MAY NOT BE SOLD OR OTHERWISE TRANSFERRED EXCEPT IN ACCORDANCE
WITH THE REQUIREMENTS AND CONDITiONS SET FORTH IN THIS LIMITED
PARTNERSHIP AGREEMENI.
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        THIS LIMITED PARTNERSHIP AGREEMENT of Garrison Municipal Partners, LP is
made as of this l day of April, 2008 by and among CMG Management, LP, as General Partner,
Charles Monroe Garrison, as Organizational Limited Partner, and those Persons who are
hereafter admitted as additional limited partners in accordance with this Agreement.



                                             Article I
                                            Definitions



       For purposes of this Agreement:

         'Adjusted Capital Account Deficit" means with respect to any Partner, the deficit balance,
if any, in such Partner's Capital Account as of the end of the relevant Fiscal Year, after giving
effect to the following adjustments:

                 (i) credit to such Capital Account any amounts which such Partner is
obligated to restore pursuant to the provisions of this Agreement or is deemed to he obligated to
restore pursuant to the next to the last sentence of Regulation Sections 1 .704-2(g)(1) and 1.704-
2(i)(5), after taking into account any changes during such year in partnership minimum gain and
partner nonrecourse debt minimum gain; and

                 (ii)     debit to such Capital Account the items described in Section 1.704-
I (b)(2)(ii)(d)(4), (5) and (6) of the Regulations.

       "Affiliate" means with respect to any Person, a Person that, directly or indirectly through
one or more intermediaries, controls, is controlled by or is under common control with such
Person, and the tcnn "Affiliated" has a correlative meaning. The term "control" means the
possession, directly or indirectly, of the power to direct or cause the direction of the management
and policies of a Person, whether through the ownership of voting Securities, by contract or
otherwise.

       "Agreement" means this Limited Partnership Agreement, as amended from time to time.

       "Applicable Rate" means, with respect to each Partner, a daily rate equal to: the twelve
(12) month average for one year Treasury Bil!s1360 multiplied by the number of days in the
applicable period.

       "A uthorized Representative" has the meaning assigned to such term in Section 7.5 hereof.

        "Base Amount" means an amount determined daily with respect to each Limited Partner
tbr each day during each Performance Period that initially is equal to the balance of such Limited
Partner's Capital Account as of the commencement of the Performance Period and that is
adjusted as follows:
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               (1)     the Base Amount is increased by the amount of any contribution by such
                       Limited Partner to his Capital Account effective as of the date credited
                       thereto; and

        (2)    the Base Amount is decreased by the amount of any withdrawal by or distribution
to the Limited Partner effective as of the date charged thereto.

        "Business Day" means any day on which banks are open for business in New York, New
York.

       "Capital Account" means with respect to each Partner the capital account established and
maintained on behalf of such Partner as described in Section 3.3.

       "C'arriforvard Account" means a memorandum account to be recorded in the books and
records of the Partnership with respect to each Limited Partner that has an initial balance of zero
and that is adjusted as follows:

               (1) As of the first day after the close of each Performance Period for such
                      Limited Partner, the balance of the Carryforward Account (a) is increased
                      by the amount, if any, of such Limited Partner's Negative Performance
                      Change for such Perfonriance Period and (b) is reduced (but not below
                      zero) by the amount, if any, of such Limited Partner's Positive
                      Performance Change for such Performance Period.

               (2) As of the close of each Performance Period for such Limited Partner. any
                      positive balance of the Canyforward Account is further adjusted if the
                      Capital Account balance of such Limited Partner has been reduced during
                      such Performance Period as a result of a distribution or a partial
                      withdrawal, by reducing such positive balance (but not below zero) by an
                      amount determined by multiplying (a) such positive balance by (b) a
                      fl- action, of which (i) the numerator is equal to the amount so distributed or
                      withdrawn, and (ii) the denominator is equal to the balance of such
                       Limited Partner's Capital Account immediately before giving effect to
                      such distribution or withdrawal.

        "Certificate" means the certificate of limited partnership referred to in Section 2.1.

      "code" means the U.S. Internal Revenue Code of 1986, as amended and as hereafter
amended, or any successor law.

        "c'ommencernent Date" means the first date on or as of which a Limited Partner other
than the Organizational Limited Partner is admitted to the Partnership.

        "Company Act" means the Investment Company Act of 1940, as amended.

       "Covered Person" means the General Partner; each member, shareholder, partner,
manager, director, officer, employee or agent of, or any Person who controls, the General
Partner; each of the respective Affiliates of the foregoing; each of the respective executors, heirs,
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assigns, successors or other legal representatives of the foregoing; and each member of the
Investment Committee and his or her executors, heirs, assigns, successors or other legal
representatives.

       "Designated Securities" has the meaning assigned to such term in Section 3.6(h) hereof.

      "ERISA" means the Employee Retirement Income Security Act of 1974, as the same may
be amended from time to time.

        "Excluded Partner" means any Partner designated as such by the General Partner and
who has provided evidence satisfactory to the General Partner to the effect that such Partner is
legally or otherwise restricted from participating (in whole or in part) in investments in one or
more particular Securities.

        "Fiscal Period" means each period that starts on the Commencement Date (in the case of
the initial Fiscal Period) and thereafter on the day immediately following the last day of the
preceding Fiscal Period, and that ends on the earliest of the following dates:

               (I)    the last day of any Fiscal Quarter; or

               (2) any date as of which any withdrawal or distribution of capital is made by
                      or to any Partner or as of which this Agreement provides for any amount
                      to be credited to or debited against the Capital Account of any Partner,
                      other than a withdrawal or distribution by or to, or an allocation to the
                      Capital Accounts of, all Partners that does not result in any change of any
                      Partner's Partnership Percentage; or

               (3) the date that immediately precedes any day as of which a contribution to
                       capital is accepted by the General Partner from any new or existing
                       Partner: or

               (4)    the date of any Recognition Event with respect to a Special Situation
                      Investment; or

               (5)    any other date that the General Partner selects in its sole discretion.

        "Fiscal Quarter" means any calendar quarter, unless the (ieneral Partner elects another
fiscal quarter.

       "Fiscal Year" means the period commencing on the Commencement Date and ending on
March 31, 2008, and thereafter each period commencing on January 1 of each year and ending
on December 3 1 of such year, unless the General Partner elects another fiscal year, provided that
any such other fiscal year is permissible for ldcral income tax purposes.

       "(;eneral Partner" means CMG Management, LP, a Texas limited partnership, any
successor thereto, and any Persons hereafter admitted as additional general partners, each in its
capacity as a general partner of the Partnership.




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       "Interest" means the entire ownership interest of a Partner in the Partnership at the
relevant time, including the right of such Partner to any and all benefits to which a Partner may
be entitled as provided in this Agreement, together with the obligations of such Partner to
comply with all the terms arid provisions of this Agreement.

       "Investment Committee" has the meaning assigned to such term in Section 4.8 hereof.

        "Limited Partner" means any Person admitted to the Partnership as a I irnited Partner,
until the entire Limited Partner Interest of such Person has been withdrawn pursuant to
Section 5.5 or a substitute Limited Partner or Partners are admitted with respect to such Person's
entire Limited Partner Interest. Except as the context otherwise requires in relation to
Management Fees, Performance Allocation, withdrawal rights or other specified terms of this
Agreement, the term includes any Special Limited Partner. For all purposes of the TBOC, the
Limited Partners constitute a single class or group of limited partners.

        "Managed Account" means any assets managed by the General Partner or any of its
Affiliates, whether for its own account or for the account of any third party, that are invested or
available for investment in investment or trading activities, whether or not of the specific type
being conducted by the Partnership.

        "Management Fee" means an amount calculated at an annual rate of 1.0% of the Capital
Account balance of each Limited Partner, which amount accrues from the Commencement Date
and is payable quarterly in advance on the first day of the current Fiscal Quarter, based on the
Capital Account balances of Limited Partners as of the beginning of such Fiscal Quarter (or on
the Commencement Date in the case of the Partnership's first Fiscal Quarter). The General
Partner has the discretion to reduce or eliminate the Management Fcc with respect to any Special
Limited Partner.

        "NASD" means the National Association of Securities Dealers, Inc.

        "NASD-reszuicted Issues" has the meaning assigned to such term in Section 3.6(a) hereof.

        "Negative Basis" means with respect to any Partner and as of any time of calculation, the
excess of such Partner's "adjusted tax basis" in its Partnership interest for federal income tax
purposes at such time (determined without regard to any adjustments made to such adjusted tax
basis by reason of any transfer or assignment of such interest, including by reason of death) over
the amount that such Partner is entitled to receive upon withdrawal from or liquidation of the
Partnership.

        "Negative Basis Partner" shall mean any Partner who withdraws from the Partnership
and who has Negative Basis as of the effective date of such withdrawal, hut such Partner shall
cease to be Negative Basis Partner at such time as it shall have received allocations pursuant to
Section 3.12(d) equal to such Partner's Negative Basis as of the etThctive date of the withdrawal
and without regard to such Partner's share of the liabilities of the Partnership under Section 752
of the Code.

       "Organizational Limited Partner" means Charles Monroe Garrison, in his capacity as
organizational limited partner.


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        "Partner" means the General Partner or any of the Limited Partners, except as otherwise
expressly provided herein, and "Partners" means the General Partner and all of the Limited
Partners.

       "Partnership" means the limited partnership formed pursuant to this Agreement.

         "Partnership Percentage" means a percentage established for each Partner on the
Partnership's books as of the first day of each Fiscal Period representing such Partner's share of
allocations attributable to transactions involving the Regular Account for such Fiscal Period.
The Partnership Percentage of a Partner for a Fiscal Period is determined by dividing the amount
of the Partner's Regular Sub-account as of the beginning of the Fiscal Period (after adjustment
for all net contributions to the capital of the Partnership and Management Fees that arc effective
as of such date) by the Regular Account Net Assets as of the beginning of the Fiscal Period (atler
adjustment for all net contributions to the capital of the Partnership and Management Fees that
are effective as of such date). The sum of the Partnership Percentages of all Partners for each
Fiscal Period must equal one hundred percent (100%).

        "Performance Allocation" means, with respect to any Limited Partner to the extent that
such Limited Partner's Positive Performance Change determined as of the close of a
Performance Period exceeds the Priority Return Amount, twenty percent (20%) of the amount
determined as of the close of each Performance Period with respect to each Limited Partner, by
which (i) such Limited Partner's Positive Performance Change for such Performance Period , if
any, exceeds (ii) any positive balance in such Limited Partner's Carr,'forward Account as of the
most recent prior date as of which any adjustment has been made thereto. The General Partner
has the discretion to reduce or eliminate the Performance Allocation with respect to any Special
Limited Partner.

       "Performance Change" means, with respect to each Limited Partner for each
Performance Period, the difference between:

               (1) the sum of(a) the balance of such Limited Partner's Capital Account as of
                       the close of the Performance Period (after giving ctThct to all allocations to
                       be made to such Limited Partner's Capital Account as of such date other
                       than any Performance Allocation to be debited against such Limited
                       Partner's Capital Account), plus (b) any debits to such Limited Partner's
                       Capital Account during the Performance Period to reflect any actual or
                       deemed distributions or withdrawals with respect to such Limited
                       Partner's Interest, plus (c) any debits to such Limited Partner's Capital
                       Account during the Performance Period to reflect any items allocable to
                       such Limited Partner's Capital Account pursuant to Section 3.7(h) or
                       3.7(c) hereof: and

               (2) the sum of (a) the balance of such Limited Partner's Capital Account as of
                       the commencement of the Performance Period, plus (b) any credits to such
                       Limited Partner's Capital Account during the Performance Period to
                       reflect any contributions by such Limited Partner to the capital of the
                       Partnership.



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        If the amount specified in clause (1) exceeds the amount specified in clause (2) such
difference is a "Positive Performance Change", and if the amount specified in clause (2) exceeds
thc amount specified in clause (1), such difference is a "Negative Performance Change."

        "Performance Period" means, with respect to each Limited Partner, the period
commencing as of the date of admission of such Limited Partner to thc Partnership (in the case
of such Limited Partner's initial Performance Period) and thereafter each period commencing as
of the day following the last day of the preceding Performance Period with respect to such
Limited Partner, and ending as of the close of business on the first to occur of the tbllowing after
the relevant commencement date:

               (1)     the last day of a Fiscal Year;

               (2)     the withdrawal by such Limited Partner of his entire Interest;

               (3)     the partial withdrawal by such Limited Partner of any portion of his
                       Interest, but only with respect to such withdrawn amount;

               (4)     the admission as a substitute Limited Partner of a Person to whom the
                       entire Interest of such Limited Partner has been Transferred; or

               (5)     the final distribution to such Limited Partner thilowing the dissolution of
                       the Partnership.

        "Person" means any individual, partnership, corporation, limited liability company, trust,
or other entity.

        "Positive Basis" means, with respect to any Partner and as of any time of calculation, the
excess of the amount that such Partner is entitled to receive upon withdrawal from or liquidation
of the Partnership over such Partner's "adjusted tax basis" in its Interest for federal income tax
purposes at such time (determined without regard to any adjustments made to such adjusted tax
basis by reason of any transfer or assignment of such Interest, including by reason of death).

        "Positive Basis Partner" means any Partner who withdraws from the Partnership and
who has Positive Basis as of the effective date of such withdrawal, but such Partner shall cease to
be a Positive Basis Partner at such time as he has received allocations pursuant to Section 3.12(c)
equal to such Partner's Positive Basis as of the effective date of the withdrawal and with regard
to such partner's share of the liabilities of the Partnership under Section 752 of the Code.

       "Priority Return Amount" means, with respect to each Limited Partner for each
Performance Period, the sum of the daily amounts, determined for each day during such
Performance Period, obtained by multiplying (1) the Base Amount with respect to such Limited
Partner for such day by (2) the Applicable Rate for such day.

        "Recognition Event" means any of the following:

                (1)     a sale of the Special Situation Investment for cash;



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               (2)     an exchange of the Special Situation Investment for Securities that arc not
                       Special Situation Investments;

               (3)     an ui-kind distribution of the Special Situation Investment to Partners; or

               (4) at the discretion of the General Partner, if market quotations have become
                        readily available for Securities of the same class and series as the Special
                        Situation Investment, the occurrence of all events necessary to permit the
                        Partnership to make unrestricted public rcsales of such Special Situation
                        Investment in the principal market for which such quotations arc availahle.

        "Regular Account" means a memorandum account to be maintained in the accounting
records of the Partnership to reflect the entitlements of all Partners to allocations and
distributions attributable to transactions involving all of the Partnership's assets other than
transactions involving Special Situation Investments.

         "Regular Account iVet Assets" means the total value, as determined by the General
Partner in accordance with Section 7.2, of all Securities and other assets of the Regular Account
(including net unrealized appreciation or depreciation of Securities and accrued interest and
dividends receivable net of any withholding taxes), less an amount equal to all accrued debts,
liabilities and obligations of the Partnership (including any reserves fbr contingencies accrued
pursuant to Section 3.8). Except as otherwise expressly provided herein, Regular Account Net
Assets as of the first day of any Fiscal Period is determined on the basis of the valuation of assets
conducted as of the close of the immediately preceding Fiscal Period but after giving effect to
any capital contributions made by any Partner subsequent to the last day of such immediately
preceding Fiscal Period, and Regular Account Net Assets as of the last dy of any Fiscal Period
is determined before giving effect to any of the following amounts payable by the Partnership
that are effective as of the date on which such determination is made:

               (I)     any withdrawals or distributions payable to any Partner that are effective
                       as of the date on which such determination is made;

               (2)     any Management Fees payable as of the date on which such determination
                       is made; and

               (3) withholding taxes, expenses of processing withdrawals and other items
                      payable, and any increases or decreases in any reserves or other amounts
                      recorded pursuant to Section 3.8 and any increases or decreases in the
                      value of any NASD-restricted Issues (as defined herein) or Designated
                      Securities pursuant to Section 3.6, during the Fiscal Period ending as of
                      the date on which such determination is made, to the extent the General
                      Partner determines that, pursuant to any provisions of this Agreement,
                      such items are not to he charged ratably to the Regular Sub-accounts of all
                       Partners on the basis of their respective Partnership Percentages as of the
                      commencement of the Fiscal Period.
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       "Regular Sub-account" means a memorandum account to be maintained in the
accounting records of the Partnership to reflect the entitlements of' each Partner, as adjusted for
each Fiscal Period, to allocations and distributions attributable to the Regular Account.

          "Regulations" means the regulations issued under the Code or any successor law.

          "Restricied capital Accounts" has the meaning assigned to such term in Section 3.6(a)
hereof.

        "Securities" means investments, on margin or otherwise, in securities and other f'inancial
instruments of the United States and foreign entities, including capital stock; shares of beneficial
interest; partnership interests and similar financial instruments; bonds, notes, debentures
( whether subordinated, convertible or otherwise); any currencies: commodities; interest rate,
currency, commodity, equity and other derivative products, including (i) futures contracts (and
options thereon) relating to stock indices, currencies, U.S. Government securities and debt
securities of foreign governments, other financial instruments and all other commodities, (ii)
swaps, options. warrants, caps, collars, floors and forward rate agreements, (iii) spot and forward
currency transactions and (iv) agreements relating to or securing such transactions; equipment
lease certificates; equipment trust certificates; loans; accounts and notes receivable and payable
held by trade or other creditors; trade acceptances; contract and other claims; executory
contracts; participations; open and closed-end investment companies and other mutual funds;
money market funds; obligations of the United States or any state thereof, foreign governments
and instrumentalities of any of them; commercial paper; repurchase agreements; certificates of
deposit; banker's acceptances; trust receipts; and other obligations and instruments or evidences
of indebtedness of whatever kind or nature; in each case, of any Person, government or other
entity whatsoever, whether or not publicly traded or readily marketable, all without restriction of
any kind.

        "Special Limited Partner" means a Limited Partner with respect to which the General
Partner has agreed to a variation or elimination of any of the terms of this Agreement, including
without limitation (i) the Management Fee, (ii) the Performance Allocation, (iii) withdrawal
rights, or (iv) any combination thereof. The (Ieneral Partner has the absolute discretion to
designate any Limited Partner as a Special Limited Partner and, subject to any agreement
between the General Partner and a Special Limited Partner, to rescind any of the terms that
distinguish a Special Limited Partner from a Limited Partner.

        "Special Situation investment" means a Security held by the Partnership that is
designated by the General Partner, at any time and in its sole discretion, as not readily
m arketable, until the occurrence of a Recognition Event with respect thereto.

        "Special Situation investment Sub-accounts" means memorandum accounts to be
maintained in the accounting records of the Partnership on a Partner-by-Partner basis with
respect to each particular Special Situation Investment to reflect the entitlement of each Partner
(other than a Partner not having any credit balance in its Regular Sub-account at the time of the
establishment of the Special Situation Investment Sub-account) to allocations and distributions
attributable to Partnership transactions involving such Special Situation Investment.




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        "TROC' means the Texas Business Organizations Code, as amended from time to time
(or any corresponding provisions of succeeding law).

        "Transfer" means any sale, exchange, transfer, assignment or other disposition by a
Partner of his Interest to another party, whether voluntary or involuntary, including a transfer by
operation of law, but not including a pledge of or granting of another form of security interest in
any such Interest.

       "Treasury Bill Rate" means, with respect to any calendar month, a rate of interest,
determined and adjusted monthly by the General Partner as of the fifth Business Day of each
month, equal to the annual coupon equivalent yield on 13-week U.S. Treasury bills resulting
from the most recent auction of such instruments prior to the monthly determination date.

       "Withdrawal Gate" has the meaning assigned to such term in Section 5.5(d) hereof.



                                            Article II
                                           Organization



2.1    Formation of Limited Partnership

       (a)     The parties hereto hereby agree to form a limited partnership under and pursuant
               to the TBOC.

       (b) The General Partner must execute, acknowledge and file with the Secretary of
              State of the State of Texas a Certificate, any amendments thereto as may be
              required by the TBOC and any other instruments, documents and certificates
              which, in the opinion of the Partnership's legal counsel, may from time to time be
              required by the laws of the United States of America, the State of Texas or any
              other jurisdiction in which the Partnership determines to do business, or any
              political subdivision or agency thereof, or which such legal counsel may deem
              necessary or appropriate to effectuate, implement and continue the valid and
              subsisting existence and business of the Partnership. The General Partner must
              cause any required amendment to the Certificate to be filed promptly following
              the event requiring said amendment. All amendments may he signed by any one
              or more of the General Partners (as required by the TBOC) and may be signed
              either personally or by an attorney-in-fact.

       (c) The parties hereto acknowledge that they intend that the Partnership be taxed as a
              partnership and not as an association taxable as a corporation for federal income
              tax purposes. No election may he made to treat the Partnership as other than a
              partnership for federal income tax purposes.




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2.2    Name of Partnership

       The name of thc Partnership is Garrison Municipal Partners, LP or such other name as the
General Partner may hereafter adopt upon (i) causing an amendment to the Certificate to be filed
with the Secretary of State of the State of Texas and (ii) sending notice thereof to the Limited
Partners. Ihe Partnership has the exclusive ownership and right to use the Partnership tiame so
long as the Partnership continues, despite the withdrawal, expulsion, resignation or removal of
any Limited Partner, hut upon the Partnership's termination or at such time as CMG
Management, LP or its Affiliate ceases to be a General Partner, the Partnership must assign the
name and the goodwill attached thereto to CMG Management, LP or its Affiliate without
payment by the assignee(s) of any consideration therefore.

2.3    Registered Office and Agent

       The street address of the registered office of the Partnership is 5847 San Felipe, Suite
2125 Houston, Texas, 77057-3009, and the name of its registered agent at such address is
Charles Monroe Garrison. The General Partner may change the registered office or registered
agent of the Partnership at any time in its sole discretion.

2.4    Term of Partnership

       The term of the Partnership commences on the date on which the Certificate is filed with
the Secretary of State of the State of Texas and continues until dissolved pursuant to Section 6.1
hereof (unless its term is extended pursuant to Section 6.1). The legal existence of the
Partnership as a separate legal entity continues until the cancellation of the Certificate.

2.5     Objectives of Partnership

         The Partnership is formed for the object and purpose of, and the nature of the business to
be conducted and promoted by the Partnership is, engaging in any lawful act or activity for
which limited partnerships may be formed under the TBOC and engaging in any and all
activities necessary or incidental to the foregoing.

2.6     Actions by Partnership

        The Partnership may execute, deliver and perform all contracts, agreements and other
undertakings and engage in all activities and transactions as may in the opinion of the General
Partner be necessary or advisable to carty out its objects.

2.7     Reliance by Third Parties

        Persons dealing with the Partnership arc entitled to rely conclusively upon the power and
authority of the General Partner as herein set forth.

2.8     Liability of Partners

        (a)     Except as provided herein or by the TBOC. the General Partner has the liabilities
                of a partner in a partnership without limited partners to Persons other than the


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              Partnership and the Limited Partners. Except as provided herein or by the i'BOC,
              the General Partner has the liabilities of a partner in a partnership without limited
              partners to the Partnership and the Limited Partners.

       (b)    In no cvent will any Limited Partner (or former Limited Partner) be obligated to
              make any contribution to the Partnership in addition to its agreed capital
              commitment (or other payments provided for herein) or have any liability for the
              repayment or discharge of the debts and obligations of the Partnership except to
              the extent provided herein or as required by law.



                                           Article III
                                            Capital



3.1    Contributions to Capital

       (a) The required initial contribution of each Limited Partner (other than the
              Organizational Limited Partner) to the capital of the Partnership is $1,000,000, or
              such lesser amount as the General Partner, in its discretion, may permit. The
              General Partner, in its sole discretion, may increase the required initial minimum
              investment at any time.

       (b) The Partners may make additional contributions to the capital of the Partnership at
              such times and in such amounts as the General Partner, in its sole discretion, may
              permit, but no Limited Partner is obligated to make any additional contribution to
              the capital of the Partnership, subject to the provisions of Sections 3.7 and 3.8 and
              any contrary provision of the TBOC.

       (c) The General Partner has the right at any time to make additional contributions to
              the capital of the Partnership as a Limited Partner or General Partner and, subject
              to the exception set forth in the following sentence, is required to make additional
              capital contributions from time to time to the extent necessary to maintain the
              balance of its Capital Account at an amount that (i) results in the General
              Partner's Partnership Percentage being not less than one percent (1%) or (ii) is
              equal to $250,000. whichever is less. Fxcept as provided above or in the TBOC,
              the (leneral Partner is not required or obligated to make any additional
              contributions to the capital of the Partnership.

       (d) Except as otherwise permitted by the General Partner in its sole discretion, (i)
              initial or additional contributions to the capital of the Partnership by each Partner
              arc payable in cash, and (ii) initial contributions are payable in one installment
              that is due as of the date of admission of such Person as a Limited Partner of the
              Partnership.




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       (c)     All subscriptions may be subject, at the General Partner's sole discretion, to a
               sales charge of up to two percent (2%) of the total amount subscribed. All or a
               portion of any such subscription charge may be paid to authorized dealers,
               placement agents or independent third parties, other than the General Partner, for
               services provided in connection with the solicitation of subscriptions. Any
               applicable subscription charge is deducted from the Limited Partner's capital
               contribution.

3.2    Rights of Partners in Capital

       (a)     No Partner is entitled to interest on his contributions to the capital of the
               Partnership.

       (b)     No Partner has the right to the return of any contribution to the capital of the
               Partnership except (i) upon withdrawal of such Partner pursuant to Section 5.5 or
               (ii) upon the dissolution of the Partnership pursuant to Section 6.1. The
               entitlement to any such return at such time is limited to the value of the Capital
               Account of the Partner. The General Partner is not liable for the return of any such
               amounts.

3.3     Capital Accounts

        (a) The Partnership maintains a separate Capital Account for each Partner. Each
               Partner's Capital Account rcticcts the aggregate sum of the balances in such
               Partners Regular Sub-account and each Special Situation Investment Sub-
               account maintained for such Partner.

        (b) Each Partner's Capital Account has an initial balance equal to the amount of any
               cash and the net value, as determined in accordance with Section 7.2 hereof of
               any assets constituting such Partner's initial contribution to the capital of the
               Partnership (net of any sales charges).

        (c) Each Partner's Capital Account is increased (net of any sales charges) by the
               amount of cash and the net value, as determined in accordance with Section 7.2
               hereof of any assets constituting additional contributions by such Partner to the
               capital of the Partnership and decreased by (i) the amount of cash and the net
               value of any assets withdrawn by and distributed to such Partner and (ii) such
               Partner's pro rata portion of the expenses payable by the Partnership pursuant to
               Section 4.3(b).

        (d) Each Partner's Capital Account is adjusted in the manner specified in this Article
               III to reflect changes in the value of such Partner's Regular Sub-account and in
               any Special Situation Investment Sub-accounts.

3.4     Operation of the Regular Account and Regular Sub-accounts

        Except as otherwise expressly provided herein, all capital contributions by a Partner arc
credited to such Partner's Regular Sub-account, and all withdrawals by or distributions to such


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Partner are debited from such Partner's Regular Sub-account to the extent thereof. In addition.
except as otherwise provided in Sections 3.13 and 3.14, any credits or debits not specifically
required to be reflected in Special Situation Investment Sub-accounts are reflected in the Regular
Account and arc allocated among the Regular Sub-accounts of the Partners on the basis of their
respective Partnership Percentages at the relevant time.

3.5    Special Situation Investment Sub-accounts

       (a) Subject to Section 5.5(e), whenever the Partnership makes a Special Situation
              Investment, a Special Situation Investment Sub-account is established for each
              Partner who had a Regular Sub-account at such time to reflect such Partner's pro
              rata share of all allocations and distributions attributable to transactions involving
              such Special Situation Investment, based on such Partner's Partnership Percentage
              at such time. Thereafter, all credits and debits relating to such Special Situation
              Investment (including those specifically referred to below) are allocated among
              the Special Situation Investment Sub-accounts in accordance with the Partnership
              Percentages of the participating Partners existing upon inception of such Special
              Situation Investment Sub-accounts.

       (b) An amount equal to a Partner's share of the cost of the Special Situation
              Investment is debited from such Partner's Regular Sub-account balance and
             credited to each participating Partner's Special Situation Investment Sub-account.
              In addition, any costs and expenses directly related to the acquisition, ownership
             or disposition of a Special Situation Investment are allocated exclusively among
             the Partners who have an interest therein and are reflected by means of (i) a
              transfer from each of their respective Regular Sub-accounts to each of their
             respective Special Situation Investment Sub-accounts and (ii) a debit of such item
              from the Special Situation Investment Sub-accounts. Special Situation
              Investment Sub-accounts are not adjusted to reflect any change in the value of the
              Special Situation Investment prior to the occurrence of a Recognition Event with
              respect to such Special Situation Investment.

       (c) Upon the occurrence of a Recognition Event relating to a Special Situation
              Investment, the carrying value thereof or the proceeds thereof, as the case may be,
             are adjusted to reflect the fair value thereof. and the Special Situation Investment
              Sub-accounts relating to such Special Situation Investment are closed.

       (d) When a Partner's Special Situation Investment Sub-account relating to a
             particular Special Situation Investment is closed, the balance therein is combined
             with such Partner's Regular Sub-account, and each Partner's Partnership
             Percentage is adjusted accordingly. If a Recognition Event affects oni)' a portion
             of the Security position constituting a single Special Situation Investment, the
             General Partner sub-divides each affected Special Situation Investment Sub-
             account and closes only the portion with respect to which the Recognition Event
             has occurred; provided, however, that the General Partner may postpone taking
             such action if it believes that one or more Recognition Events affecting the entire
             remaining Special Situation Investment are reasonably imminent.


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       (e)     If, immediately aller a Rccognition Event, the Partnership continues to hold the
               Security that constituted the Special Situation Investment (or a marketable
               Security that was exchanged for it). then for purposes of determining and
               allocating future profit or loss associated with that investment, the Partnership
               will treat such investment as having been purchased in the Regular Account at
               such time at a purchase price equal to the current fair market value.

3.6    Allocations Relating to Restricted Issues and E)esignated Securities

       (a) Pursuant to the NASD rules, as governed by FINRA ("NASD Rules"), members
              of F[NRA arc permitted to sell to the Partnership certain publicly-offered
              securities ("Restricted Issues") only if the Capital Accounts of Partners connected
              with the securities industry ("Restricted Capital Accounts") are restricted from
              sharing a beneficial interest in such Restricted Issues in accordance with the
              provisions of such NASD Rules. Notwithstanding the provisions of Section 3.4
              above, to enable the Partnership to invest in Restricted Issues, the Partnership
               shall not allocate any items of income, gain, loss, deduction and credit that relate
               to investments in Restricted Issues to Restricted Capital Accounts except to the
               extent permitted by the NASD Rules, and shall instead allocate such items among
               the other Capital Accounts on a pro rata basis. To the extent the NASD Rules
              permit certain persons with Restricted Capital Accounts to participate in
               Restricted Issues, the General Partner will allocate such Restricted Issues among
               such Restricted Capital Accounts on a pro rata basis. If the time of purchase of an
               Restricted Issue does not coincide with the commencement of a Fiscal Period, the
               General Partner may specially allocate a carrying charge to compensate Partners
               with Restricted Capital Accounts to the extent such Restricted Capital Accounts
               do not participate in investments in Restricted Issues for the use of Partnership
               capital to purchase or carry such positions. To the extent consistent with NASD
               Rules, as amended from time to time, the General Partner shall determine when
               all Capital Accounts may participate in the net profit and net loss from any
               Restricted Issue. The General Partner shall value any Restricted issue at such time
               at the then-current price of the security in the secondary market.

        (b) The Partnership may at times purchase certain Securities in which participation by
               Excluded Partners may be restricted ("Designated Securities"). Notwithstanding
               the provisions of Section 3.4 above, to enable the Partnership to invest in such
               Designated Securities while limiting an Excluded Partner's participation in
               Securities that are Designated Securities with respect to such Excluded Partner.
               the General Partner shall not allocate any items of income, gain, loss, deduction
               and credit that relate to such Designated Securities to any Excluded Partner with
               respect to such l)csignated Securities to the extent required in connection with
               such Excluded Partner's designation as such, and shall instead allocate such items
               among the other Capital Accounts on a pro rata basis. If the time of purchase of a
               Designated Security does not coincide with the commencement of a Fiscal Period,
               the General Partner may allocate a carrying charge to compensate an Excluded
               Partner to the extent such Excluded Partner does not participate in such



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              Dcsignatcd Security for the   USC   of Partnership capital to purchase or carry such
              positions.

3.7    Allocation of Management Fees, Withholding Taxes and Certain Other Expenditures

       (a)    Subject to any special arrangements with Special Limited Partners, as of the first
              day of each Fiscal Quarter, each Limited Partner's Management Fee for each
              Fiscal Quarter is debited against the Regular Sub-account of each such Limited
              Partner. In the case of a Limited Partner having no remaining balance in its
              Regular Sub-account, the allocable portion of the Management Fee is deferred
              and is payable upon the closing of any Special Situation Investment Sub-accounts
              of any such Limited Partner.

       (h)    If the Partnership incurs a withholding tax or other tax obligation with respect to
              the share of Partnership income allocable to any Partner. then the General Partner,
              without limitation of any other rights of the Partnership or the General Partner,
              may cause the amount of such obligation to be debited against the Capital
              Account of such Partner as of the close of the Fiscal Period during which the
              Partnership pays such obligation. If the amount of such taxes is greater than such
              Capital Account balance, then such Partner and any successor to such Partner's
              Interest must pay to the Partnership as a contribution to the capital of the
              Partnership, upon demand of the (icncral Partner, the amount of such excess. The
              General Partner is not obligated to apply for or obtain a reduction of or exemption
              from withholding tax on behalf of any Partner that may be eligible for such
              reduction or exemption.

       (c)    Except as otherwise provided for in the Agreement, any expenditures payable by
              the Partnership, to the extent determined by the General Partner to have been paid
              or withheld on behalf of, or by reason of particular circumstances applicable to,
              one or more but fewer than all of the Partners, are to he charged to only those
              Partners on whose behalf such payments arc made or whose particular
              circumstances gave rise to such payments. Such charges arc debited from the
              Capital Accounts of such Partners as of the close of the Fiscal Period during
              which any such items were accrued by the Partnership.

3.8    Reserves; Adjustments for Certain Future Events

       (a)    Appropriate reserves may he created, accrued and charged against the Regular
              Account Net Assets and proportionately against the Capital Accounts of the
              Partners for contingent liabilities, such reserves to be in the amounts that the
              General Partner, in its sole discretion, deems necessary or appropriate. The
              General Partner may increase or reduce any such reserve from time to time by
              such amounts as the General Partner in its discretion deems necessary or
              appropriate. At the sole discretion of the General Partner, the amount of any such
              reserve, or any increase or decrease therein, may he charged or credited, as
              appropriate, to the Capital Accounts of those parties who arc Partners at the time
              when such reserve is created, increased, or decreased, as the ease may be, or



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              alternatively may be charged or credited to those parties who were Partners at the
              ti me of the act or omission giving rise to the contingent liability for which the
              reserve was establishcd.

       (b) If the General Partner in its sole discretion determines that it is equitable to treat
                an amount to be paid or received as being applicable to one or more prior periods,
                then such amount may be proportionately charged or credited, as appropriate, to
                those parties who were Partners during such prior period or periods.

       (c) If any amount is to be charged or credited to a party who is no longer a Partner,
               such amount must be paid by or to such party, as the case may be, in cash, with
                interest at the Treasury Bill Rate in effect at that time from the date on which the
               General Partner determines that such charge or credit is required. In the case of a
               charge, the former Partner is obligated to pay the amount of the charge, plus
                interest as provided above, to the Partnership on dernand provided that (i) in no
                event is a former Partner obligated to make a payment exceeding the amount of its
                Capital Account at the time to which the charge relates, and (ii) no such demand
                may be made if the applicable limitation period under the TBOC, if any, has
                expired. To the extent the Partnership fails to collect, in full, any amount required
                to be charged to such former Partner pursuant to paragraph (a) or (b) of this
                Section 3.8, whether due to the expiration of the applicable limitation period, if
                any, or for any other reason whatsoever, the deficiency may be charged
                proportionately to the Capital Accounts of the current Partners.

3.9    Performance Allocation

       (a) The Performance Allocation is debited against the Capital Account of each
              Limited Partner as of the last day of each Performance Period with respect to such
              Limited Partner, and the amount so debited is simultaneously credited to the
              Capital Account of the General Partner.

       (b) The General Partner, in its sole discretion. may waive or alter the Performance
              Allocation with respect to Limited Partners that are affiliated with the General
              Partner and any Special Limited Partners.

       (c) The General Partner is not entitled to receive a Performance Allocation on any
              assets of the Partnership that are held in a Special Situation Investment Sub-
              account until such account is liquidated.

3.10 Special Allocations

        Notwithstanding Section 3.4, the following special allocations shall he made for such
taxable period:

       (a)     Limitation on Losses. Net losses allocated pursuant to Article Ill, shall not
               exceed the maximum amount of net losses that can be so allocated without
               causing any Partner to have an, or to increase an existing, Adjusted Capital
               Account Deficit at the end of any Fiscal Year. In the event some but not all of the


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        Limited Partners would have Adjusted Capital Account Deficits as a consequence
        of an allocation of net losses pursuant to Article 111 hcrcof the limitation set forth
        in this paragraph shall be applied on a Partner-by-Partner basis so as to allocate
        the maximum permissible net losses to each Limited Partner under Section 1 .704-
         I (h)(2)(ii)(d) of the Regulations. All net losses in excess of the limitation set
        forth in this paragraph shall he allocated to the General Partner.

 (b) Partnership Minimum Gain Chargehack. Notwithstanding any other provision of
         this Article III, if there is a net decrease in partnership minimum gain during any
         Fiscal Year, each Partner shall be specially allocated items of Partnership income
         and gain for such year (and, if necessary, subsequent years) in proportion to, and
         to the extent of, an amount equal to such Partner's share of the net decrease in
         partnership minimum gain, determined in accordance with Section l.704-(2)(g)(2)
         of the Regulations. The items to be so allocated shall be determined in
         accordance with Section 1.704-2(f) of the Regulations. This Section 3.9(b) is
         intended to comply with the minimum gain chargehack requirement of the
         Regulations and shall he interpreted consistently therewith.

 (c) Partner Minimum Gain Chargeback. Notwithstanding any other provision of this
         Article III except Section 3.10(b), if there is a net decrease in partner minimum
         gain attributable to a partner nonrccoursc debt during any Fiscal Year, each
         Partner with a share of the partner minimum gain attributable to such partner
         nonrecourse debt, determined in accordance with Section 1 .704-2(i)(5) of the
         Regulations, shall be specially allocated items of Partnership income and gain for
         such year (and, if necessary, subsequent years) in proportion to, and to the extent
         of, an amount equal to such Partner's share of the net decrease in partner
         minimum gain attributable to such partner nonrecourse debt, determined in
         accordance with Section 1 .704-2(i)(5) of the Regulations. The items to he so
         allocated shall he determined in accordance with Section l.704-2(i)(5) of the
         Regulations. This Section 3.10(c) is intended to comply with the partner
         minimum gain chargeback requirement of the Regulations and shall be interpreted
         consistently therewith.

 (d) Qualified Income Offset. In the event any Partner unexpectedly receives any
        adjustments, allocations or distributions described in Section 1.704-
        1 (b)(2)(ii)(d)(4), (5) and (6) of the Regulations, items of Partnership income and
        gain shall be specially allocated to each such Partner in an amount and manner
        sufficient to eliminate, to the extent required by the Regulations, the Adjusted
        Capital Account Deficit of such Partner as quickly as possible, provided that an
        allocation pursuant to this Section 3.10(d) shall be made only if and to the extent
        that such Partner would have an Adjusted Capital Account Deficit after all other
        allocations provided for in this Article III have been tentatively made as if this
        Section 3.1 0(d) were not in the Agreement.

 (e) Gross Income Allocation. In the event any Partner has a deficit Capital Account
        at the end of any Fiscal Year which is in excess of the sum of (i) the amount such
        Partner is obligated to restore pursuant to any provision of this Agreement, and


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         (ii) the amount such Partner is deemed to bc obligated to restore pursuant to
         Regulations Sections l.704-2(g)(1) and l.704-2(i)(5), each such Partner shall be
         specially allocated items of Partnership income and gain in the amount of such
         excess as quickly as possible, provided that an allocation pursuant to this
         Section 3.10(e) shall be made only if and to the extent that such Partner would
         have a deficit Capital Account in excess of such sum after all other allocations
         provided for in this Article III have been tentatively made as if this Section
         3.10(e) and Section 3.10(d) hereof were not in the Agreement.

 (0      Nonrecourse Deductions. Nonrecoursc deductions for any Fiscal Year or other
         Period shall be specially allocated to the Partners in accordance with their
         respective Partnership Percentages.

 (g) Partner Nonrecourse Deductions. Any partner nonrecourse deductions for any
         Fiscal Year or other period shall be allocated to the Partner who bears the
        economic risk of loss with respect to the partner nonrecourse debt to which such
        partner nonrecoursc deductions are attributable in accordance with Regulations
         Section 1.704-2(i).

 (h) To the extent an adjustment to the adjusted tax basis of any Partnership asset,
        pursuant to Code Section 734(b) or Code Section 743(b) is required, pursuant to
         Section 1.704-l(b)(2)(iv)(m)(2) or l.704-l(b)(2)(iv)(m)(4) of the Regulations, to
        be taken into account in determining Capital Accounts as the result of a
         distribution to a Partner in complete liquidation of such Partner's Partnership
         Interest, the amount of such adjustment to Capital Accounts shall be treated as an
         item of gain (if the adjustment increases the basis of the asset) or loss (if the
         adjustment decreases such basis) and such gain or loss shall be specially allocated
         to the Partners in accordance with their interests in the Partnership in the event
         Section 1.704-l(b)(2)(iv)(m)(2) of the Regulations applies, or to the Partner to
         whom such distribution was made in the event Section 1 .704-l(h)(2)(iv)(m)(4) of
         the Regulations applies.

  (i) Curative Allocations. The "Regulatory Allocations" consist of the allocations to a
          Partner (or its predecessor) under Sections 3.10(a), 3.10(b), 3.10(c), 3.10(d),
          3.10(e), 3.10(0 and 3.10(g). Notwithstanding any other provision of this Article
          111 (other than the Regulatory Allocations), the Regulatory Allocations shall be
          taken into account in allocating other items of income, gain, loss and deduction
          among the Partners so that, to the extent possible, the net amount of such
          allocations of other items and the Regulatory Allocations to each Partner shall be
          equal to the net amount that would have been allocated to each such Partner if the
          Regulatory Allocations had not occurred. The General l'artner shall have
          reasonable discretion, with respect to each Fiscal Year, to (I) apply the provisions
          of this Section 3.10(i) in whatever order is likely to minimize the economic
          distortions that might otherwise result from the Regulatory Allocations, and (ii)
          divide all allocations pursuant to this Section 3.10(i) among the Partners in a
          manner that is likely to minimize such economic distortions.



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3.11    Allocation to Avoid Capital Account Deficits

        To thc extent that any debits pursuant to Sections 3.4 through 3.9 hereof would reduce
the balance of the Capital Account of any Limited Partner below zero, that portion of any such
debits is instead allocated to the Capital Account of the General Partner. Any credits in any
subsequent Fiscal Period that would otherwise he allocable pursuant to Section 3.4 through 3.9
hereof to the Capital Account of any Limited Partner previously affected by the application of
this Section 3.11 are instead allocated to the Capital Account of the General Partner in such
amounts as are necessary to offset all previous debits attributable to such Limited Partner (but
allocated to the General Partner) pursuant to this Section 3.11 not previously recovered.

3.12 Allocations for Income Tax Purposes

        (a) Except as otherwise required by Code Section 704(c), items of income, gain,
               deduction, loss, or credit that are recognized for income tax purposes in each
               Fiscal Year are allocated among the Partners, General and Limited, in such
               manner as to reflect equitably amounts credited to or debited against each
               Partner's Capital Account, whether in such Fiscal Year or in prior Fiscal Years.
               To this end, the Partnership establishes and maintains records that show the extent
               to which the Capital Account of each Partner, as of the last day of each Fiscal
               Year. consists of amounts that have not been reflected in the taxable income of
               such Partner. To the extent deemed by the General Partner, in its sole discretion,
               to be feasible and equitable, taxable income and gains in each Fiscal Year arc
               allocated among the Partners 'ho have enjoyed the related credits to their Capital
               Accounts, and items of deduction, loss and credit in each Fiscal Year are allocated
               among the Partners who have home the burden of the related debits to their
               Capital Accounts.

        (b) To the extent an adjustment to the adjusted tax basis of any Partnership asset
               pursuant to Code Section 734(b) or Code Section 743(h) is required under
               Regulations Section l.704-1(b)(2)(iv)(m) to he taken into account in determining
               Capital Accounts, the amount of such adjustment to the Capital Accounts is
               treated as an item of gain (if the adjustment increases the basis of the asset) or loss
               (if the adjustment decreases such basis) and such gain or loss is specially
               allocated to the Partners in a manner consistent with the manner in which their
               Capital Accounts are required to be adjusted pursuant to such Section of the
               Regulations; provided, in the event that an adjustment to the book value of
               Partnership property is made as a result of an adjustment pursuant to Section
                734(b) of the Code, items of income, gain, loss, or deduction, as computed for
               hook and tax purposes, are specially allocated among the Partners so that the
               effect of any such adjustment benefits (or is borne by) the Partner(s) receiving the
               distribution that caused such adjustment.

        (c) If the Partnership reali7es net gains or items of gross income from the sale of
             Partnership assets for federal income tax purposes for any Fiscal Year in which
             one or more Positive Basis Partners withdraws from the Partnership pursuant to
             Section 5.5, the General Partner in its sole discretion may elect (i) to allocate such


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              net gains or items of gross income among such Positive Basis Partners,        rata in
              proportion to the respective Positive Basis    of each such  Positive Basis Partner,
              until either the full amount of such net gains or items of gross income shall have
              been so allocated or the Positive Basis of each such Positive Basis Partner shall
              have been eliminated; and (ii) to allocate any net gains or items of gross income
              not so allocated to Positive Basis Partners to the other Partners in such manner as
              shall reflect equitably the amounts credited to such Partners' Capital Accounts
              pursuant to Section 3.3; provided, however, that if, following such Fiscal Year,
              the Partnership realizes net gains or items of gross income from a sale of an
              investment the proceeds of which arc designated on the Partnership's books and
              records as being used to effect payment of all or part of the liquidating share of
              any Positive Basis Partner, there shall be allocated to such Positive Basis Partner
              an amount of such net gains or items of gross income equal to the amount, if any,
              by which his Positive Basis as of the effective date of his withdrawal exceeds the
              amount allocated to such Partner pursuant to clause (i) of this sentence.

       (d)     If the Partnership realizes net losses or items of loss or deduction from the sale of
               Partnership assets for federal income tax purposes for any Fiscal Year in which
               one or more Negative Basis Partners withdraws from the Partnership pursuant to
               Section 5.5, the General Partner may elect: (i) to allocate such net losses or items
               of loss or deduction among such Negative Basis Partners, pro in proportion to
               the respective Negative Basis of each such Negative Basis Partners, until either
               the full amount of such losses or items of loss or deduction shall have been so
               allocated or the Negative Basis of each such Negative basis Partner shall have
               been eliminated; and (ii) to allocate any net losses or items of loss or deduction
               not so allocated to Negative Basis Partners to the other Partners in such manner as
               shall reflect equitably the amounts credited to such Partners' Capital Accounts
               pursuant to Section 3.3; provided, however, that if, following such Fiscal Year,
               the Partnership realizes net losses or items of loss and deduction from a sale of an
               investment the proceeds of which arc designated on the Partnership's books and
               records as being used to effect payment of all or part of the liquidating share of
               any Negative Basis Partner, there may be allocated to such Negative Basis Partner
               an amount of such net losses or items of loss or deduction equal to the amount, if
               any, by which his or its Negative Basis as of the effective date of its withdrawal
               exceeds the amount allocated to such Partner pursuant to clause (i) of this
               sentence.

3.13 Qualified Income Offset

        In the event any Limited Partner unexpectedly receives any adjustments, allocations, or
distributions described in Section 1 .704-1 (hX2)(ii)(d,(4), 1 .704-1 (h)(2)(ii)d5), or
l.7041(h)(2)(ii)( (6) of the Regulations, items of Partnership income and gain will he specially
allocated to each such Limited Partner in an amount and manner sufficient to eliminate, to the
extent required by the Regulations, the deficit balance in the Capital Account of such Limited
Partner as quickly as possible, provided that an allocation pursuant to this Section 3.13 may be
made only if and to the extent that such Limited Partner would have a deficit balance in its
Capital Account after all other allocations provided for in this Article III have been tentatively


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made as if this Section 3.13 were not in the Agreement. This Section 3.13 is intended to
constitute a "qualified income offset" within the meaning of Regulations Section 1 .704-
1 (h)(2)(ii), and must be interpreted consistently therewith.

3.14    Gross Income Allocation

        In the event any Limited Partner has a deficit Capital Account at the end of any Fiscal
Year that is in excess of the sum of (i) the amount such Limited Partner is obligated to restore
pursuant to any provision of this Agreement and (ii) the amount such Limited Partner is deemed
to be obligated to restore pursuant to the penultimate sentences of Regulations Section 1.704-
2(g)( I) and I .704-2(iX5), each such Limited Partner will be specially allocated items of
Partnership income and gain in the amount of such excess as quickly as possible, provided that
an allocation pursuant to this Section 3.14 may be made only if and to the extent that such
Limited Partner would have a deficit Capital Account in excess of such sum after all other
allocations provided fix in this Article III have been made as if Section 3.13 hereof and this
Section 3.14 were not in the Agreement.

3.15 Individual Partners' Tax Treatment

       Each Partner agrees not to treat, on any personal income tax return or in any claim for a
refund, any item of income, gain, loss, deduction or credit in a manner inconsistent with the
treatment of such item by the Partnership.

3.16    Distributions

        (a)     The amount and timing of any distributions from the Partnership are determined
                by the General Partner in its sole discretion.

        (h)     Notwithstanding any provision to the contrary contained in this Agreement, the
                Partnership, and the General Partner on behalf of the Partnership, may not make a
                distribution to any Partner on any account of its Interest if such distribution would
                violate Section 153.210 of the TBOC or other applicable law.



                                             Article IV
                                            Management



4.1      Duties and Powers of the (ieneral Partner

         (a)    Subject to the terms and conditions of this Agreement, the General Partner has
                complete and exclusive power and responsibility, to the fullest extent permitted
                by the TROC (i) for all investment and investment management decisions to he
                undertaken on behalf of the Partnership and (ii) for managing and administering
                the affairs of the Partnership, and has the power and authority to do all things that



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              the General Partner considers necessary or desirable to carry out its duties
              hereunder and to achieve the purposes of the Partnership.

       (b) Without limiting the generality of the (leneral Partner's duties and obligations
              hereunder and notwithstanding anything to the contrary contained herein, the
              General Partner has full power and authority to cxceutc, deliver and perform such
              contracts, agreements and other undertakings on behalf of the Partnership, without
              the consent or approval of any other Partner, and to engage in all activities and
              transactions, as it may deem necessary or advisable for, or as may be incidental
              to, the conduct of the business and affairs of the Partnership, including, without in
              any manner limiting the generality of the foregoing, (i) contracts, agreements,
              undertakings and transactions with any Partner or with any other Person having
              any business, financial or other relationship with any Partner or Partners, (ii)
              agreements with each Limited Partner in connection with its purchase of a
              Limited Partner Interest, including a subscription agreement wherein such
              Limited Partner agrees to be bound by the terms of this Agreement and (iii) any
              agreements to induce any Person to purchase a Limited Partner Interest, each
              without any further act, approval or vote of any Person.

       (c) The General Partner is the tax matters partner for purposes of Section 623 1(a)(7)
              of the Code. The tax matters partner has the exclusive authority and discretion to
              make any elections required or permitted to he made by the Partnership under any
              provisions of the Code or any other applicable laws.

4.2    Management Fees

        The General Partner is entitled to receive from the Partnership as compensation for its
services to the Partnership hereunder the Management Fee payable as of the beginning of each
Fiscal Quarter.

4.3    Expenses

       (a)    Subject to Section 4.3 the General Partiier pays all of its own operating and ovcr
              head costs.

       (b) The Partnership pays all other costs and expenses arising in connection with its
              operations. Such expenses payable by the Partnership include, without limitation,
              the following:

               (i)    all costs and expenses directly related to portfolio investments or
                      prospective investments of the Partnership, including brokerage
                      commissions and other transaction costs. expenses related to proxies,
                      underwriting and private placements, interest and commitment fees on
                      debit balances or borrowings, borrowing charges on Securities sold short,
                      custody fees and fucs of professional advisors and consultants relating to
                      investments or prospective investments;




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       (ii)   any withholding or transfer taxes imposed on the Partnership or any of its
              Partners;

       (iii) any governmental, regulatory, licensing. filing or registration fees incurred
                in compliance with the rules of any sclfregulatory organization or any
                federal, state or local laws;

       (iv)   any interest due to Partners in connection with capital withdrawals;

       (v) any legal fees and costs (including settlement costs) arising in connection
              with any litigation or regulatory investigation instituted against the
               Partnership or the General Partner in its capacity as such;

       (vi)   the cost of the audit of the Partnership's financial statements and the
              preparation of its tax returns;

       (vii) the fees and expenses of the Partnership's accountants in connection with
                accounting advice relating to the Partnership's day-to-day affairs and all
                costs related to the keeping of the books and records of' the Partnership;

       (viii) the fees and expenses of the Partnership's counsel in connection with
                advice directly relating to the Partnership's legal affairs;

       (ix) the costs of any outside appraisers, accountants. bookkeepers, attorneys or
               other experts engaged by the General Partner as well as other expenses
               directly related to the Partnership's investment program;

       (x) specific expenses incurred in obtaining systems, research and other
              information utilized for portfolio management purposes that facilitate
              valuations and accounting, including the costs of statistics and pricing
              services, service contracts for quotation equipment and related hardware
              and software:

       (xi) all costs and expenses associated with the organization of' the Partnership
                and the offering of Interests, including legal and accounting fees, printing
                costs, travel and out-of-pocket expenses and compliance with any
                applicable federal and state laws;

       (xii) the costs and expenses of holding any meetings of partners which are
               required to he held under the terms of this Agreement or by law;

       (xiii) the expenses of the Investment Committee and the members thereof;

       (xiv) the costs of any liability insurance obtained on behalf of the Partnership or
               the General Partner; and

       (xv) all costs and expenses associated with reporting and providing information
               to existing and prospective Partners,


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               Any of the above-listed expenses may he specially allocated among the Partners
               as provided elsewhere in this Agreement. The General Partner is entitled to
               reimbursement from the Partnership for any of the above expenses paid by it on
               behalf of the Partnership; provided that, the General Partner may, in its sole
               discretion, absorb any or all of such expenses incurred on behalf of the
               Partnership or have an Affiliate of the General Partner absorb such expenses on
               behalf of the Partnership. If the General Partner or its Affiliate incurs any of the
               expenses mentioned in Section 4.3(b) above for the account of the Partnership and
               any other Managed Account, then the General Partner allocates such expense
               among the Partnership and each such Managed Account in proportion to the size
               of the investment made by each in the activity or entity to which the expense
               relates, or in such other manner as the General Partner considers fair and
               reasonable.

       (c) The General Partner is entitled to use "soft dollars" generated by the Partnership
              to pay for certain of its own operating and overhead costs, including payment of
              all or a portion of the General Partner's costs and expenses of operation such as
              supplies, salaries, employee benefits, telephone, postage, transportation, travel,
              meals and entertainment, office equipment, news wire and data processing
              charges, legal and accounting fees, office rent and electricity, quotation services,
              periodical subscription fees and all other trading related expenses. Use of "soft
              dollars" by the General Partner as described herein does not constitute a breach by
              the General Partner of any fiduciary or other duty which the General Partner may
              be deemed to owe to the Partnership or its Partners.

4.4     Rights of Limited Partners

       'I he Limited Partners take no part in the management or control of the Partnership's
business and have no right or authority to act for the Partnership or to vote on matters other than
the matters set forth in this Agreement or as required by applicable law.

4.5    Other Activities of Partners

       (a) The General Partner is not required to devote its lull ti me to the affairs of the
              Partnership, hut must devote such of its time to the business and affairs of the
              Partnership as it, in its discretion exercised in good faith, determines to be
              necessary to conduct the affairs of the Partnership for the benefit of the
              Partnership and the Partners.

       (b) Each Partner agrees that any other Partner and any partner, manager, director,
              officer, shareholder, member, Affiliate or employee of any Partner, may engage in
              or possess an interest in other business ventures or commercial dealings of every
              kind and description, independently or with others, including management of
              other accounts. investment in, or financing, acquisition and disposition of,
              Securities, investment and management counseling, brokerage services, serving as
              directors, officers, advisers or agents of other companies, partners of any
              partnership. or trustee of any trust, or entering into any other commercial



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                                                          4.5 to the General Partner or the
        Limited Partners, but may refer the same to any other party or keep such
        opportunities for their own benefit; and (ii) the Limited Partners and the General
        Partner and their respective partners, managers, directors, officers, shareholders,
        members, Affiliates and employees arc hereby authorized to engage in activities
        contemplated by this paragraph (b) of Section 4.5 with, or to purchase, sell or
        otherwise deal or invest in Securities issued by, companies in which the General
        Partner might from time to time invest or be able to invest or otherwise have any
        interest on behalf of the Partnership, without the consent or approval of the
        Partnership or any other Partner.

 (c) The General Partner must act in a manner that it considers fair, reasonable and
        equitable in allocating investment opportunities to the Partnership but does not
        otherwise have any specific obligations or requirements concerning the allocation
        of time, effort or investment opportunities to the Partnership or any restrictions on
        the nature or timing of investments for the account of the Partnership, for the
        General Partner's own account, or for other accounts that the General Partner or
        its Affiliates may manage. When the General Partner in its sole discretion
        determines that it would be appropriate for the Partnership and any Managed
        Account to participate in an investment opportunity, the General Partner must
        seek to execute orders for the Partnership and any other Managed Accounts on an
        equitable basis. If the General Partner determines to invest in the same direction
        in the same Security at the same time for the Partnership and one or more
        Managed Accounts, the General Partner will generally place orders for all such
        accounts simultaneously. If all such orders arc not filled at the same price, the
        General Partner will, to the greatest extent possible, allocate the trades such that
        the order for each account is filled at the same average price. If all such orders
        cannot he filly executed under prevailing market conditions, the General Partner
        may allocate the Securities or other assets traded among the Partnership and any
         Managed Account on a basis that it considers equitable. The principals of the
        General Partner and the employees and officers thereof and of the organ i7ations
        Affiliated with the General Partner may buy and sell Securities for their own
        account or for the account of others, but may not buy Securities from or sell
        Securities to the Partnership.

 (d) The parties hereto hereby waive, and covenant not to sue on the basis of, any law
        (statutory, common law or otherwise) respecting the rights and obligations of the
        Partners inter se which is or may be inconsistent with this Section 4.5.




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4.6    I)uty of Care; Indemnification

       (a) To the fullest extent permitted under applicable law, no Covered Person is liable
               to the Partnership or to any of the Partners for any losses, claims, damages or
               liabilities arising (i) by reason of being or having been a Covered Person or (ii)
               from any act or omission performed or omitted by the Covered Person in
               connection with this Agreement or the Partnership's business or affairs (including
               any error in judgment in making any investment decisions), including losses due
               to the negligence of brokers or other agents of the Partnership, except for any
               losses, claims, damages or liabilities primarily attributable to such Covered
               Person's willful misconduct, recklessness, or gross negligence, as tinally
               determined by a court of competent jurisdiction, or as otherwise required by law.
               The General Partner is not personally liable to any Limited Partner for the
               repayment of ally positive balance in such Limited Partner's Capital Account or
               for contributions by such Limited Partner to tile capital of the Partnership or by
               reason of any change in the fidcral or state income tax laws applicable to the
               Partnership or its investors.

       (b) The Partnership must, to the fullest extent permitted by applicable law. indemnify
              and hold harmless each Covered Person against any losses, claims, damages,
              liabilities, costs or expenses (including legal fees, judgments and amounts paid in
              settlement) to which such Covered Person may become subject (i) by reason of
              being or having been a Covered Person or (ii) ill connection with any matter
              arising out of or in connection with this Agreement or the Partnership's business
              or affairs, unless (A) a court of competent jurisdiction, in a judgment that has
              become final and that is no longer subject to appeal or review, determines that any
              such loss, claim, damage, liability, cost or expense is primarily attributable to
              such Covered Person's willful misconduct, recklessness, or gross negligence or
              (B) it is determined in accordance with Section 8.101 of the TBOC that such
              Covered Person did not act in good faith and did not reasonably believe that the
              Covered Pcrsons conduct was. in the case of the General Partner (in its capacity
              as a general partner of the Partnership), in the Partnership's best interests or, in all
              other cases, at least not opposed to the Partnership's best interests. 'Ihe right to
              indemnification granted by this Section 4.6(b) is in addition to any rights to which
              the Covered Person may otherwise be entitled and inures to the benefit of the
              successors or assigns of such Covered Person. If any Covered Person becomes
              involved in any capacity in any action, proceeding or investigation in connection
              with any matter arising out of or in connection with this Agreement or the
              Partnership's business or affairs, the Partnership must pay (as they are incurred)
              the Covered Person's legal and other expenses (including the cost of any
              investigation and preparation) incurred in connection therewith after the
              Partnership receives (i) a written affirmation by the Covered Person of the
              Covered Person's good faith belief that it has met the standard of conduct
              necessary for indemnification under this Section 4.6(b) and (ii) a written
              undertaking by or on behalf of the Covered Person to repay to the Partnership the
              amount of any such expenses paid to the extent that it is ultimately determined
              that such Covered Person is not entitled to be indemnified by the Partnership in


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               connection with such action, proceeding or investigation as provided in the
               exceptions contained in the first sentence of this Section 4.6(b) or under
               applicable law. Any indemnification of or advancement of expenses to a Covered
               Person will be reported in writing to the Limited Partners not later than six (6)
               months after the date that the indemnification or advancement of expenses occurs.
               If for any reason (other than the willful misconduct, recklessness, or gross
               negligence of such Covered Person) the foregoing indemnification is unavailable
               to such Covered Person, or insufficient to hold it harmless, then the Partnership
               must, to the fullest extent permitted by law, contribute to the amount paid or
               payable by such Covered Person as a result of such loss, claim, damage or
               liability in such proportion as is appropriate to reflect the relative benefits
               received by the Partnership, on the one hand, and the Covered Person on the other
               hand or. if such allocation is not permitted by applicable law, to reflect not only
               the relative benefits referred to above hut also any other relevant equitable
               considerations. In any suit brought to enforce a right to indemnification or to
               recover an advancement of cxpcnsCs, the burden of proving that the Covered
               Person or other Person claiming a right to indemnification is not entitled to be
               indemnified, or to an advancement of expenses, hereunder is on the Partnership
               (or any Limited Partner acting derivatively or otherwise on behalf of the
               Partnership or the Limited Partners). No Covered Person may satisfy any right of
               indemnity or advancement of expenses granted in this Section 4.6(b) or to which
               it may be otherwise entitled except out of the assets of the Partnership, arid no
               Partner is personally liable with respect to any such claim for indemnity or
               advancement of expenses. The General Partner in its sole discretion may obtain
               appropriate insurance on behalf of' the Partnership to secure the Partnership's
               obligations hereunder.

4.7    Fiduciary Duties; Discretion

       (a) To the extent that, at law or in equity, a Covered Person has duties (including
               fiduciary duties) and liabilities relating thereto to the Partnership or to any
               Partner, such Covered Person acting under this Agreement is not liable to the
               Partnership or to any Partner for its good faith reliance on the provisions of this
               Agreement. The provisions of this Agreement, to the extent that they restrict the
               duties and liabilities of a Covered Person otherwise existing at law or in equity,
               are agreed by the parties hereto to replace such other duties and liabilities of such
               Covered Person.

       (b) To the ftillest extent permitted by law, unless otherwise expressly provided for
              herein. (i) whenever a conflict of interest exists or arises between the General
              Partner or any of its Affiliates, on the one hand, and the Partnership or a Limited
               Partner on the other hand, or (ii) whenever this Agreement or any other agreement
              contemplated herein or therein provides that the General Partner must act in a
              manner which is, or provide terms which are, fair and reasonable to the
               Partnership, or any Limited Partner, the General Partner must resolve such
              conflict of interest, take such action or provide such terms. considering in each
              case the relative interest of each party, including its own interest, to such conflict.


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               agreement, transaction or situation and the benefits and burdens relating to such
               interests, any customary or accepted industry practices, and any applicable
               generally accepted accounting practices or principles. In the absence of bad faith
               by the General Partner, the resolution, action or terms so made, taken or provided
               by the General Partner do not constitute a breach of this Agreement or any other
               agreement contcmplated herein or of any duty or obligation of the General Partner
               at law or in equity or other;'ise.

       (c)     To the fullest cxtent permitted by law, whenever in this Agreement a Person is
               permitted or required to make a decision (i) in its "sole discretion" or "discretion"
               or under a grant of similar authority or latitude, such Person is entitled to consider
               only such interests and factors as it desires, including its own interests, and has no
               duty or obligation to give any consideration to any interest of or factors affecting
               the Partnership or the Limited Partners, or (ii) in its "good faith" or under another
               express standard, then such Person acts under such express standard and is not
               subject to any other or different standards imposed by this Agreement or any
               other agreement contemplated herein or by relevant provisions of law or in equity
               or otherwise.

4.8     Investment Committee

        (a) The General Partner may in its sole discretion appoint a committee (the
               "Investment Committee") composed of one or more individuals selected from
               ti me to time by the General Partner in its sole discretion. No member of the
               Investment Committee may be an Affiliate of or associated with the General
               Partner (except as a Limited Partner or as an investor in an Affiliate of the
               Partnership).

        (b) If established, the Investment Committee will meet with the (ieneral Partner from
                 ti me to time as deemed appropriate by the General Partner in its sole discretion to
                 consult with and advise the General Partner on any matter deemed appropriate by
                 the General Partner in its sole discretion, including any circumstances involving
                 conflicts of interest between the General Partner on the one hand and the Limited
                 Partners and the Partnership on the other.

        (c) The General Partner may in its discretion seek the approval of the Investment
               Committee in connection with (i) approvals that are or would be required under
               the Investment Advisers Act of 1940, as amended (including Section 206(3)
               thereunder) or (ii) any other matter deemed appropriate by the General Partner in
               its sole discretion. Each Limited Partner agrees that except as otherwise
               specifically provided herein and to the extent permitted by applicable law. the
               approval of a majority of the members of the Investment Committee at such time
               is binding upon the Partnership and each Partner with respect to any approval
               sought under this Section 4.8(c); provided that, for the avoidance of doubt, the
               Investment Committee is not entitled to approve any amendment to this
               Agreement otherwise than in accordance with the provisions of Section 8.1
               below.


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       (d) Subject to the foregoing, any recommendations of or actions taken by the
              Investment Committee are advisory only and the General Partner is not required
              or otherwise bound to act in accordance with any such recommendations or
              actions.

       (e) In the sole discretion of the General Partner, meetings of the Investment
               Committee may be held in person or by telephone. Approval of the Investment
               Conimittee is deemed to have been given if given by a majority of those members
               present at a meeting or by a majority of all members of the Investment Committee
               if given pursuant to a written consent without a meeting.



                                          Article V
                            Admissions, Transfers and Withdrawals



5.1    Admission of Limited Partners

       The General Partner may, at the beginning of each Fiscal Quarter, or at such other times
as the General Partner may deternine, in its sole discretion. and without advance notice to or
consent from the I.irnitcd Partners, admit any Person who executes this Agreement or any other
writing evidencing the intent of such Person to become a Limited Partner, unless the investment
by such Limited Partner in the Partnership would have any of the effects described in clauses (i)
through (vi) of Section 5.3(c) herein. The General Partner has the absolute discretion to reject
subscriptions for Limited Partner Interests.

5.2    Admission of Additional General Partners

       (a) Except as provided in Section 5.2(b), the General Partner may admit one or more
              Persons to the Partnership as additional general partners only if such action is
              approved by Limited Partners whose Partnership Percentages represent more than
              fifty percent (50%) of the aggregate Partnership Percentages of all Limited
              Partners. No additional general partner may be added unless such additional
              general partner agrees to he hound by all of the terms of this Agreement or if
              adding such additional general partner would have any of the effects described in
              clauses (i) through (vi) of Section 5.3(c) herein.

        (b) Notwithstanding Section 5.2(a), any Person to whom a (ieneral Partner has
               transferred its General Partner Interest in accordance with Section 5.4 will be
               admitted to the Partnership as a substitute General Partner without the consent of
               the Limited Partners.

5.3    Transfer of Interests of Limited Partners

        (a)    Each Limited Partner agrees that he will not make or attempt to make any
               Transfer of his Interest which would violate this Section 5.3. In the event of any


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        attempted Transfer of any Limited Partner's Interest in violation of the provisions
        of this Scetion 5.3. without limiting any other rights of the Partnership, the
        Gencral Partner in its sole discretion has the right to reqwre the withdrawal of
        such Limited Partner's Interest from the Partnership as provided by Section
        5.5(h).

 (b) No Transfer of any Limited Partner's Interest, whether voluntary or involuntary,
        is valid or effective, and no transferee becomes a substituted Limited Partner.
        unless the prior written consent of the General Partner has been obtained, which
        consent may be withheld for any reason or for no reason in the sole discretion of
        the General Partner. In the event of any lransfer, all of the conditions of the
        remainder of this Section 5.3 must also be satisfied.

 (c) No Transfer of any Limited Partner's Interest, whether voluntary or involuntary,
        is valid or effective unless thc General Partner in its sole discretion determines,
        after consultation with legal counsel acting for the Partnership, that such Transfer
        will not:

        (i)     require registration of any Interest under any securities laws of the United
                States of America, any state thereof or any other jurisdiction;

        (ii) subject the Partnership or the General Partner to a requirement to register,
                 or to additional disclosure or other requirements, under any securities or
                 commodities laws of the United States of America, any state thereof or
                 any other jurisdiction;

        (iii) result in a termination of the Partnership for U.S. federal income tax
                 purposes under Section 708(b)(l)(B) of the Code or cause the Partnership
                 to he treated as a "publicly traded partnership" for U.S. federal income tax
                 purposes under Section 7704(b) of the Code;

        (iv)    result in the Partnership being considered an investment company under
                the Company Act;

        (v) violate or be inconsistent with any representation or warranty made by the
                transferring Limited Partner at the time the Limited Partner subscribed to
                purchase an Interest; or

        (vi)    result in assets of the Partnership being considered "Plan Assets" for
                purposes of the Employee Retirement Income Security Act of 1974, as
                amended.

        The transferring Limited Partner, or his legal representative, must give the
        General Partner written notice before making any voluntary Transfer and after
        any involuntary Transfer and must provide sufficient information to allow legal
        counsel acting for the Partnership to make the determination that the proposed
        Transfer will not result in any of the consequences referred to in clauses (i)
        through (vi) above. If an assignment, transfer or disposition occurs by reason of


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        the death of a Limited Partner or assignee, the notice may be givcn by the duly
        authorized representative of the estate of the Limited Partner or assigncc. The
        notice must be supported by proof of legal authority and valid assignment
        acceptable to the General Partner.

 (d) In the event any Transfer permitted by this Section 5.3 results in multiple
         ownership of any Limited Partner's Interest, the General Partner in its sole
         discretion may require one or more trustees or nominees to he designated to
         represent a portion of or the entire Interest transferred for the purpose of receiving
         all notices which may he given and all payments which may be made under this
         Agreement and for the purpose of exercising the rights which the transferor as a
         Limited Partner had pursuant to the provisions of this Agreement.

 (e) Subsequent to receipt of the consent of the General Partner (which consent may
        be withheld by the General Partner in its sole discretion), an authorized transferee
        is entitled to the allocations and distributions attributable to the Interest
        transferred to such transferee and to transfer such Interest in accordance with the
        terms of this Agreement; provided, however, that such transferee is not entitled to
        the other rights of a Limited Partner as a result of such transfer until he becomes a
        substituted T.imitcd Partner. No transferee, except with the consent of' the General
        Partner (which consent may he withheld in its sole discretion), may become a
        substituted Limited Partner. If the General Partner withholds consent, a transferee
        will not have any of the rights of a Limited Partner, except that the transferee will
        be entitled to receive that share of capital or profits and to have the right of
        withdrawal to which his transferor would have been entitled and will remain
        subject to the other terms of this Agreement. A transferring Limited Partner
        remains liable to the Partnership as provided under applicable law regardless of
        whether his transferee becomes a substituted Limited Partner. Notwithstanding
        the above, the Partnership and the General Partner will incur no liability for
        allocations and distributions made in good faith to the transferring Limited
        Partner until a written instrument of transfer has been received by the Partnership
        and recorded on its books and the effective date of the 'l'ransfer has passed.

 (f) Any other provision of this Agreement to the contrary notwithstanding, any
        successor to any Limited Partner's Interest is hound by the provisions hereof.
        Prior to recognizing any Transfer in accordance with this Section 5.3, the General
        Partner in its sole discretion may require the transferring Limited Partner to
        execute and acknowledge an instrument of transfer in form and substance
        satisfactory to the General Partner, and may require the transferee to make certain
        representations and warranties to the Partnership and Partners and to accept, adopt
        and approve in writing all of the terms and provisions of this Agreement. .A
        transferee becomes a substituted Limited Partner and succeeds to the portion of
        the transferor's Capital Account relating to the Interest transferred effective upon
        the satisfaction of all of the conditions for such Transfer contained in this
        Section 5.3.




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       (g)     In the event of a Transfer or in the event of a distribution of assets of the
               Partnership to any Partner, the Partnership, in the absolute discretion of the
               General Partner, may, but is not required to, file an election under Section 754 of
               the Code and in accordance with the applicable Regulations, to cause the basis of
               the Partnership's assets to be adjusted for federal income tax purposes as provided
               by Sections 734 or 743 of the Code.

5.4    Transfer of Interest of the General Partner

       (a) The General Partner may not transfer its General Partner Interest other than (i)
              pursuant to Section 5.4(h), (ii) pursuant to a transaction not deemed to involve an
              assignment of its investment management obligations within the meaning of the
              United States Investment Advisers Act of 1940. as amended, or (iii) with the
              approval of Limited Partners whose Partnership Percentages represent more than
              fifty percent (50%) of the aggregate Partnership Percentages of all Limited
              Partners. By executing this Agreement, each Limited Partner is deemed to have
              consented to any such transfer permitted by clause (ii) of the preceding sentence.

       (b) Notwithstanding Section 5.4(a), the General Partner may transfer its General
              Partner Interest to any entity managed and controlled by it or its general partner
              without the consent of the Limited Partners, and the transferee will be admitted to
              the Partnership as a substitute General Partner in accordance with Section 5.2(b).
              The General Partner must notify the Limited Partners of any transfer pursuant to
              this Section 5.4(b).

5.5     \Vithdrawal of Interests of Partners

        (a)    The Interest of a Partner may not be withdrawn from the Partnership prior to its
               dissolution except as provided in this Section 5.5.

        (b) Except as provided in Section 5.5(m), Section 6.1(c) and this Section 5.5(b), and
               subject to any arrangements with Special Limited Partners, a Limited Partner may
               voluntarily withdraw all or part of his Limited Partner Interest in the Partnership
               as of the close of business on the last day of each Fiscal Quarter (or at such other
               times as the General Partner, in its sole discretion, may determine); provided that
               as of such withdrawal date, such Limited Partner has held a Limited Partner
               Interest for at least twelve (12) complete, consecutive calendar months; and
               pyjd. further, however, that if withdrawal requests are received as of the close
               of any Fiscal Quarter for more than 20% of the Regular Account Net Assets as of
               such Fiscal Quarter end, the General Partner may, in its discretion, reduce all
               withdrawal requests pro rata so that only 20% of the value of the Regular
               Account Net Assets as of such Fiscal Quarter end is withdrawn. A withdrawal
               request that is not satisfied as of the intended Fiscal Quarter end because of the
               foregoing restrictions will be satisfied as of the next Fiscal Quarter end; provided,
               that, such restrictions do not apply as of such time. Such withdrawal requests will
               be satisfied in preference to later withdrawal requests subject to the foregoing
               provisions. Capital not withdrawn from the Partnership by virtue of the foregoing



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        restrictions will remain at the risk of the Partnership until the effective withdrawal
        date. Such Limited Partner must give irrevocable written notice to the General
        Partner at thc principal office of the Partnership at least forty-five (45) days prior
        to the proposed withdrawal date (or within such other time as the General Partner,
        in its sole discretion, determines) indicating the amount to he withdrawn from
        such Partner's Capital Account in such notice. The General Partner may, in its
        sole discretion, waive the foregoing notice requirement.

 (c) The General Partner may not make any withdrawal from the Partnership if, after
        giving effect thereto, the value of the General Partner's Capital Account, as a
        general partner of the Partnership, would be less than the minimum balance
        required to he maintained pursuant to Section 3.1(c). Subject to the foregoing, the
        General Partner may voluntarily withdraw part of its Interest (irrespective of
        whether it be as a aeneral partner or a limited partner of the Partnership) at any
        ti me pursuant to this Section 5.5 without giving notice to the Limited Partners.

 (d) The General Partner may limit aggregate withdrawals as of any withdrawal date
        to a maximum of twenty percent (20)% of aggregate Partner capital (the
        "Withdrawal Gate"). If withdrawal requests exceed Withdrawal Gate for any
        withdrawal date, each Limited Partner who has submitted a timely request will
        receive a pro rata portion of the requested withdrawal (based on requested
        withdrawal amounts), and as to any balance, such balance will be considered a
        ti mely withdrawal request with respect to the next withdrawal date without any
        Ilirther action by that Limited Partner. However, no such balance resulting from
        the Withdrawal Gate will be entitled to priority over other redemption requests on
        subsequent withdrawal dates and will be further subject to the Withdrawal Gate as
        well as hold-back for reserves and any suspensions as described in this
        Section 5.5, if applicable at that time. Notwithstanding the foregoing, the General
        Partner will honor 100% of a timely withdrawal request prior to or at the end of
        the fourth quarter following the original withdrawal date, whether or not a
        Withdrawal Gate is imposed at such time.

 (e) The General Partner, in its sole discretion, may effect withdrawal payments (i) in
        cash, (ii) by transfer to the 1.irnited Partner of certain portfolio Securities or other
        assets of the Partnership, whether or not readily marketable, the fair market value
        of which would satisf' the Limited Partner's request for withdrawal or (iii) in any
        combination of the foregoing. Except as provided in Sections 5.5(g) and 5.5(j),
        payment of at least ninety percent (90%) of the estimated amount due to a
        withdrawing Partner must be made as soon as practicable (but not more than ten
        (10) Business Days) after the effective date of withdrawal, provided that the
        General Partner may delay such payment if such delay is reasonably necessary to
        prevent such withdrawal from having a material adverse impact on the
        Partnership. Any remaining balance must be paid, without interest thereon,
        promptly following completion of the audit of the Partnership's financial
        statements for the Fiscal Year that includes the effective date of withdrawal. l'he
        capital to be withdrawn will not participate in new Special Situation Investments
        made after the relevant withdrawal date. A request for a partial withdrawal is


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         charged to a Limited Partner's Capital Account attributable to the Regular
         Account to the extent thercot unless otherwise agreed with the General Partner.

 (f      The General Partner, in its sole discretion, may deduct from any withdrawal
         payments or otherwise charge to the withdrawing Limited Partner a withdrawal
         charge reflecting the actual or estimated cost to the Partnership of complying with
         and processing such withdrawal. The amount of any charges retained by the
         Partnership in connection with any withdrawal, net of any actual costs and
         expenses of processing the withdrawal, is allocated among and credited to the
         Capital Accounts of the remaining Partners on the commencement of the Fiscal
         Period immediately following the effective date of the withdrawal in accordance
         with their respective Partnership Percentages at such time.

 (g) Upon receipt by the General Partner of a Limited Partner's notice of intention to
        withdraw assets from the Partnership, the General Partner has the absolute
        discretion to manage the Partnership's assets in a manner which would provide
        for cash being available to satisfy such Limited Partner's request for withdrawal,
        hut the General Partner is under no obligation to cffrct sales of Partnership assets
        if the General Partner. in its sole discretion, determines that such transactions
        might he detrimental to the interest of the other Partners or that such transactions
        arc not reasonably practicable. In the case of a complete withdrawal, or a partial
        withdrawal that cannot he fully funded out of the Limited Partner's interest in the
        Regular Account, no settlements may occur with respect to any of such Limited
        Partner's Special Situation Investment Sub-accounts until the occurrence of a
        Recognition Event with respect to any such Special Situation Investment after the
        scheduled payment date for the withdrawal. If the Recognition Event is a sale for
        cash, the settlement is funded in cash within 90 days after the Recognition Event
        (without interest). If the Recognition Event is not a sale for cash, the General
        Partner may effect the settlement either by making a distribution in kind of the
        I .i mited Partner's ratable share of the relevant Security or by distributing the net
        proceeds derived from a sale of such Securities or other available cash. In
        connection with any such settlement, a calculation of the Limited Partner's
        Performance Change through the date of the Recognition Event is made to
        determine whether any Performance Allocation is to be credited to the General
        Partner. The General Partner is entitled to withdraw an amount equal to any such
        Performance Allocation, together with any Management Fees dc6rred pursuant to
        Section 3.7(a). at the same time and in the same form (in cash or in kind) as the
        distribution to the withdrawing Limited Partner.

  (h) The General Partner may, in its sole discretion, require a Limited Partner's
         Interest to be withdrawn in part or in its entirety from the Partnership and for the
         Limited Partner to cease to be a Limited Partner of the Partnership pursuant to this
         Section 5.5, effective as of the end of a Fiscal Period, on not less than 30 days'
         prior written notice (or not less than 5 days' prior written notice if the General
         Partner determines in its sole discretion that such Limited Partner's continued
         participation in the Partnership may cause the Partnership or the General Partner
         to violate any applicable law). The amount due to any such Partner required to


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        withdraw from the Partnership is equal to the value of such Partner's Capital
        Account as of the effective date of the withdrawal net of any charges imposed
        pursuant to Section 5.5(f) hereof. Settlement of any such withdrawal is effected
        in accordance with the remaining provisions of this Section 5.5.

 (i) Fhe right of any Partner to withdraw or of any Partner to have distributed an
         amount from his Capital Account pursuant to the provisions of this Section 5.5 is
         subject to the provision by the General Partner for all Partnership liabilities and
         for reserves for contingencies provided for in Section 3.8 herein.

 (j) The General Partner may suspend or restrict the right of any Partner to withdraw
         capital from the Partnership or to receive a distribution from the Partnership
         pursuant to this Section 5.5 upon the occurrence of any event that may result in
         dissolution of the Partnership or at any other time in its sole discretion. The
         General Partner must promptly notify each Limited Partner who has submitted a
         withdrawal request and to whom payment in full of the amount being withdrawn
         has not yet been remitted of any suspension of withdrawal or distribution rights
         pursuant to this Section 5.5(j). The General Partner, in its sole discretion, may
         allow any such Partners to rescind their withdrawal request to the extent of any
         portion thereof for which withdrawal proceeds have not yet been remitted. The
         General Partner, in its sole discretion, may complete any withdrawals or
         distributions as of a date after the cause of any such suspension has ceased to exist
         to be specified by the General Partner as the effective date of withdrawal for all
         purposes of this Section 5.5 or at any other time.

 (k) A withdrawing Partner does not share in the income, gains and losses of the
        Partnership or have any other rights as a Partner after the effective date of its
        withdrawal except as provided in Section 3.8.

 (I)    For any partial withdrawal of a Limited Partner Interest, such Limited Partner's
        Capital Account will be charged with the Performance Allocation at the time of
        withdrawal in accordance with Section 3.9 on the withdrawn amount on a pro rata
        basis. Any amounts of Positive Performance Change with respect to which the
        Performance Allocation was not applied due to the pro rata application of the
        Performance Allocation shall be included in the Positive Performance Change for
        the subsequent Performance Period when calculating the Performance Allocation
        for such subsequent Performance Period.

 (m)    Limited Partner Interests held by investment funds managed by the General
        Partner or any of its Affiliates are not subject to the restrictions on withdrawal
        described in this Section 5.5.




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5.6    Withdrawal of Organizational Limited Partner

        The Organizational I irnited Partner withdraws from the Partnership and is entitled to the
return of any capital contribution, without interest or deduction, upon the admission of any other
Limited Partner.



                                             Article VE
                                    Dissolution and I 'iquidation



6.1    Dissolution of Partnership

       (a)     Subject to the TBOC. the Partnership will dissolve and its affairs must be wound
               up upon the earliest of:

               (i) the written election of the General Partner, in its sole discretion, to
                       dissolve the Partnership. unless within nincty (90) days after the date of
                       such election all of the Limited Partners agree in writing to continue the
                       business of the Partnership;

               (ii) the occurrence of any event that results in the General Partner ceasing to
                        he the general partner of the Partnership under the TBOC, provided that
                        the Partnership will not he dissolved and required to be wound up in
                        connection with any such event if(A) at the time of the occurrence of such
                        event there is at least one remaining general partner of the Partnership who
                        is hereby authorized to and does carry on the business of the Partnership,
                        or (B) within ninety (90) days after the occurrence oi'sucli event, all of the
                        Limited Partners agree in writing to continue the business of the
                        Partnership and to the appointment, effective as of the date of such event,
                        if required, of one or more additional general partners of the Partnership;

               (iii)   the entry of a decree of judicial dissolution under Section 11 .05 1(5) of the
                       TBOC: and

               (iv)    Any other event specified in the TBOC requiring the winding up or
                       termination of a limited partnership.

        (b)    Except as provided in Section 6.1(a) or in the TBOC, the death, mental illness,
               dissolution, termination, liquidation, bankruptcy. reorganization, merger, sale of
               suhstantiallv all of the stock or assets of or other change in the ownership or
               nature of a Partner. the admission to the Partnership of a new General or Limited
               Partner, the withdrawal of a Partner from the Partnership. or the transfer by a
               Partner of his Interest to a third party does not cause the Partnership to dissolve.




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       (c) The General Partner must provide the Limited Partners with prompt written notice
               in the event of the death, incapacity or departure of Charles Monroe Garrison
               from the general partner of the General Partner. Upon the occurrence of such an
              event, the Limited Partners will vote either to continue or to dissolvc the
               Partnership. i'he Partnership will be dissolved upon the vote of Limited Partners
              whose Partnership Percentages represent more than fifty percent (50%) of the
               aggregate Partnership Percentages of all I irnited Partners.

       (d) The parties agree that irreparable damage would be done to the goodwill and
              reputation of the Partners if any Limited Partner should bring an action in court to
              dissolve the Partnership. Care has been taken in this Agreement to provide for
              fair and just payment in liquidation of the Interests of all Partners. Accordingly,
              each Limited Partner hereby waives and renounces its right to such a court decree
              of dissolution or to seek the appointment by the court of a liquidator for the
              Partnership except as provided herein.

6.2    Liquidation of Assets

       (a) Upon dissolution of the Partnership pursuant to Section 6.1(a), the General
             Partner promptly liquidates the business and administrative affairs of the
              Partnership, except that if the General Partner is unable to perform this fi.inction, a
              liquidator elected by Limited Partners whose Partnership Percentages represent
             more than fifty percent (50%) of the aggregate Partnership Percentages of all
              Limited Partners liquidates the business and administrative affairs of the
             Partnership.

       (b) Upon dissolution of the Partnership pursuant to Section 6.1(c), a trustee that has
              been pre-appointed by the General Partner liquidates the business and
              administrative affairs of the Partnership.

       (c) Net profit and net loss attributable to the Regular Account during the Fiscal
              Periods that include the period of liquidation are allocated pursuant to Article III.
              The proceeds from liquidation are divided in the following manner, subject to the
              TBOC:


              (i) the debts, liabilities and obligations of the Partnership, other than debts to
                       the Partners as Partners, and the expenses of liquidation (including legal
                       and accounting expenses incurred in connection therewith), up to and
                       including the date that distribution of the Partnership's assets to the
                       Partners has been completed. are first satisfied (whether by payment or the
                       making of reasonable provision for payment thereof);

              (ii)    such debts as are owing to the Partners as Partners are next paid; and

              (iii) the Partners are next paid liquidating distributions (in cash, securities, or
                       other assets, whether or not readily marketable) pro rata in accordance
                       with, and up to the positive balances of their respective Capital Accounts,


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                       as adjusted pursuant to Article III to reflect allocations for the Fiscal
                       Period ending on the date of the distributions tinder this Section 6.2(c)(iii).

       (d)     Notwithstanding anything in this Section 6.2 to the contrary and subject to the
               priorities set forth in the TBOC, the General Partner, liquidator or trustee, as the
               case may be, may distribute ratably in-kind rather than in cash. upon dissolution,
               any assets of the Partnership; provided, however, that if any ui-kind distribution is
               to he made, (i) the assets distributed in kind must be valued pursuant to section
               7.2 as of the actual date of their distribution, and charged as so valued and
               distributed against amounts to be paid under Section 6.2(c) above and (ii) any
               gain or loss (as computed for hook purposes) attributable to property distributed
               in-kind must be included in the net profit or net loss attributable to the Regular
               Account for the Fiscal Period ending on the date of such distribution.



                                           Article VII
                                    Accounting and Valuations;
                                       Books and Records



7.1     Accounting and Reports

        (a) The Partnership may adopt for tax accounting purposes any accounting method
               that the General Partner decides in its sole discretion is in the best interests of the
               Partnership and that is permissible for federal income tax purposes.

        (b) As soon as practicable after the end of each Fiscal Year, the General Partner
               causes an audit of the financial statements of the Partnership as of the end of each
               such Fiscal Year to he made by a firm of certified public accountants selected by
               the General Partner in its sole discretion; and as soon as is practicable thereafter
               but subject to Section 7.5, a copy of a set of financial statements prepared on a
               basis that uses generally accepted accounting principles as a guideline (with such
               adjustments thereto as the General Partner determines appropriate in its sole
               discretion), including the report of such certified public accountants, is furnished
               to each Partner.

        (c) As soon as practicable following the end of each Fiscal Quarter but subject to
               Section 7.5, the General Partner arranges for the preparation and delivery to each
               Limited Partner of an interim report containing such information concerning the
               affairs of the Partnership (which need not include any financial statements) as the
               (ieneral Partner considers appropriate.

        (d) As soon as practicable after the end of each taxable year. the General Partner
               furnishes to each Limited Partner such information as may be required to enable
               each l.imitcd Partner properly to report for fderal and state income tax purposes



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              his distributive share of each Partnership item of income, gain, loss, deduction or
              credit for such year.

7.2    Valuation of Partnership Assets and Interests

       (a)    The General Partner must value or have valued the Securities and other assets of
              the Partnership as of the close of business on the last day of each Fiscal Pcriod
              and on any other date selected by the General Partner in its sole discretion. In
              addition, the General Partner must value Securities that are being distributed in
              kind as of their date of distribution in accordance with Section 6.2(d). In
              determining the value of the assets of the Partnership, no value is placed on the
              goodwill or name of the Partnership, or the office records, files, statistical data or
              any similar intangible assets of the Partnership not normally reflected in the
              Partnership's accounting records. hut there must be taken into consideration any
              related items of income earned but not received, expenses incurred but not yet
              paid, liabilities fixed or contingent, prcpaid expenses to the extent not otherwise
              reflected in the books of account, and the value of options or commitments to
              purchase or sell Securities pursuant to agreements entered into on or prior to such
              valuation date. Valuation of Securities made pursuant to this Section 7.2 must he
              based on all relevant factors and is expected to comply generally with the
              following guidelines:

              (i) The market value of each Security listed or traded on any recognized U.S.
                      securities exchange is the last reported sale price at the relevant valuation
                      date on the composite tape or on the principal exchange on which such
                      Security is traded. If no such sale of such Security was reported on that
                      date, the market value is the last reported bid price (in the case of
                      Securities held long), or last reported ask price (in the case of Securities
                      sold short). The market value of any Security designated as a United
                      States Nasdaq National Market Security is determined in like manner by
                      reference to the last reported sale price or, if none is available, to the last
                      reported hid price (in the case of Securities held long), or last reported ask
                      price (in the case of Securities sold short).

               (ii) Dividends declared but not yet received, and rights in respect of Securities
                       that arc quoted ex-dividend or ex-rights, are recorded at the fair value
                       thereof, as determined by the (icneral Partner, which may (but need not)
                       be the value so determined on the day such Securities are first quoted ex-
                       dividend or ex-rights.

               (iii) Listed options, or over-the-counter options tbr which representative
                        brokers' quotations are available, are valued in the same manner as listed
                        or over-the-counter Securities as hereinabove provided. Premiums for the
                        sale of such options written by the Partnership are included in the assets of
                        the Partnership, and the market value of such options is included as a
                        liability.




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              (iv)    Special Situation Investments are generally valued at historical cost,
                      subject to the General Partner's discretion to estimate the fair value of any
                      Special Situation lnvestñient (except for purposes of calculating the
                      Performance Change with respect to any Limited Partner other than a
                      Limited Partner receiving a distribution in kind of such Special Situation
                      Investment) in accordance with generally accepted accounti rig pd nc i pIes.

       (h)    The fair value of any assets not referred to in paragraph (a) (or the valuation of
              any assets referred to therein in the event that the General Partner determines in
              its sole discretion that market prices or quotations do not fairly represent the value
              of particular assets) is determined by or pursuant to the direction of the General
              Partner. In these circumstances. the General Partner will attempt to use consistent
              and fair valuation criteria and may (hut is not required to) obtain independent
              appraisals at the expense of the Partnership. In the absence of bad faith or
              manifest error, the General Partner's net asset valuations are conclusive and
              binding on all Partners.

       (c) Except as otherwise determined by or at the direction of the General Partner,
              investment and trading transactions are accounted for on the trade date. Accounts
              are maintained in U.S. dollars and except as otherwise determined by or at the
              direction of the General Partner: (i) assets and liabilities denominated in
              currencies other than U.S. dollars are translated at the rates of exchange in effect
              at the close of the Fiscal Period (and exchange adjustments are recorded in the
              results of operations); and (ii) investment and trading transactions and income and
              expenses are translated at the rates of exchange in effect at the time of each
              transaction.

       (d) The value of each Security and other asset of the Partnership and the net worth of
              the Partnership as a whole determined pursuant to this Section 7.2 are conclusive
              and binding on all of the Partners and all parties claiming through or under them.

7.3    Determinations by the General Partner

       (a)    All matters concerning the determination and allocation among the Partners of the
              amounts to be determined and allocated pursuant to Sections 3.4 through 3.12
              hereof, including any taxes thereon and accounting procedures applicable thereto,
              are determined by the General Partner unless specifically arid expressly otherwise
              provided for by the provisions of this Agreement, and such determinations and
              allocations are final and binding on all the Partners.

       (h)     lhe General Partner may make such adjustments to the computation of any of the
              memorandum accounts maintained pursuant to this Agreement, the Performance
              Change with respect to any Limited Partner, or any component items comprising
              any of the foregoing as it considers appropriate to reflect the financial results of
              the Partnership and the intended allocation thereof among the Partners in a
              reasonably accurate, fair and efficient manner.




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7.4    Rooks and Rccords

       (a) The General Partner must kecp books and records pertaining to the Partnership's
              affairs showing all of its assets and liabilities, receipts and disbursements, realized
              income, gains and losses, Partners' Capital Accounts and all transactions entered
              into by the Partnership. Such books and records of the Partnership must be kept
              at the Partnership's office or at the office of an agent of the Partnership.

       (b) Except to the extent provided in Section 7. 1, each Limited Partner agrees that the
              General Partner is entitled to preserve the confidentiality of the information
              contained in the books and records of the Partnership to the maximum extent
              permitted by law, and each Limited Partner waives, and covenants not to assert,
              any claim or entitlement whatsoever to gain access to any such information,
              including any information relating to any other Limited Partner or the
              Partnership's trading activity.

7.5    Confidentiality

       (a)    Each Limited Partner agrees to keep confidential, and not to make any usc of
              (other than for purposes reasonably related to its Interest or for purposes of filing
              such Limited Partner's tax returns) or disclose to any Person, any information or
              matter relating to the Partnership and its affairs and any information or matter
              related to any investment of the Partnership (other than disclosure to such Limited
              Partner's directors, employees, agents, advisors, or representatives responsible for
              matters relating to the Partnership or to any other Person approved in writing by
              the (leneral Partner (each such Person being hereinafter referred to as an
              "Authorized Represeniu/it'e")); provided that (i) such Limited Partner and its
              Authorized Representatives may make such disclosure to the extent that (x) the
              information to be disclosed is publicly known at the time of proposed disclosure
              by such Limited Partner or Authorized Representative, (y) the information
              otherwise is or becomes legally known to such Limited Partner other than through
              disclosure by the Partnership or the General Partner, or (z) such disclosure is
              required by law or in response to any governmental agency request or in
              connection with an examination by any regulatory authorities (provided that such
              agency, regulatory authorities or association is aware of the confidential nature of
              the information disclosed), (ii) such Limited Partner and its Authorized
              Representatives may make such disclosure to such Limited Partner's beneficial
              owners to the extent required under the terms of its arrangements with such
              beneficial owners, and (iii) such Limited Partner (and each employee,
              representative, or other agent of the Limited Partner) may disclose to any and all
              persons, without limitation of any kind, the tax treatment and tax structure of an
              investment in the Partnership and all material of any kind (including opinions or
              other tax analyses that are provided to the Limited Partner relating to such tax
              treatment and tax structure). Prior to making any disclosure required by law, each
              Limited Partner must use its best efforts to notify the General Partner of such
              disclosure. Prior to any disclosure to any Authorized Representative or beneficial



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              owner, each Limited Partner must advise such Authorized Representative or
              beneficial owner of the obligations set forth in this Section 7.5(a).

       (b) The General Partner has the right to keep confidential from (he Limited Partners.
              for such period of time as the General Partner in its sole discretion deems
              reasonable, any information which the General Partner in its sole discretion
              reasonably believes to be in the nature of trade secrets or other information the
              disclosure of which the General Partner in its sole discretion believes is not in the
              best interests of the Partnership or could damage the Partnership or its business or
              which the Partnership is required by law or agreement with a third party to keep
              confidential.

       (c) l'he (ieneral Partner may, in its sole discretion, disclose to any of the
               Partnership's prospective investors such information relating to the Partnership or
               the Partnership's investments as the General Partner believes in good faith will
               benefit the Partnership and facilitate an investment in the Partnership by such
               prospective investors.



                                         Article VIII
                                       General Provisions



8.1     Amendment of Partnership Agreement

        (a)    Except as otherwise provided in this Section 8.1, this Agreement may he
               amended, in whole or in part, with the written consent of (i) the General Partner
               and (ii) Limited Partners whose Partnership Percentages represent more than fifty
               percent (50%) of the aggregate Partnership Percentages of all Limited Partners.

        (h)    Any amendment that would:

               (i)    increase the obligation of such Partner to make any contribution to the
                      capital of the Partnership.

               (ii)    reduce the Capital Account of such Partner other than in accordance with
                       Article III, or

               (iii) change the provisions of Sections 3.4 through 3.12, 5.5 or 6.2 to alter any
                        such Partner's rights with respect to allocations of profit or loss or with
                        respect to distributions and withdrawals,

               may only be made if the prior writtcn conscnt of each Partner adversely affected
               thereby is obtained.




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 (c)   Notwithstanding paragraphs (a) and (b) of this Section 8. 1, this Agreement may
       be amended by the General Partner, in its sole discretion, without the consent of
       the Limited Partners, at any time and without limitation, if any Limited Partner
       objecting to such amendment has an opportunity to withdraw from the Partnership
       as of a date determined by the General Partner that is not less than forty-five (45)
       days after the (lencral Partner has delivered written notice of such amendment to
       each Limited Partner and that is prior to the effective date of the amendment.

 (d)    1'he General Partner in its sole discretion may at any time without the consent of
       the other Partners:

       (i) add to the representations, duties or obligations of the General Partner or
               surrender any right or power granted to the General Partner under this
               Agreement. for the benefit of the Limited Partners;

       (ii)    cure any ambiguity or correct or supplement any conflicting provisions of
               this Agreement;

       (iii)   make any changes to this Agreement so long as such changes do not
               adversely affect the rights or obligations of any Limited Partner;

       (iv) make any changes required by any governmental body or agency that is
              deemed to be for the benefit or protection of the Limited Partners;
              provided, that no such amendment referred to in this paragraph (iv) may
              he made unless it is for the benefit of, or not adverse to. the interests of the
              limited Partners, such change does not affect the right of the General
              Partner to manage and control the Partnership's business, does not affect
              the allocation of prolits and losses among the Partners, and does not affect
              the limited liability of the Limited Partners;

       (v)     amend this Agreement to reflect a change in the identity of the General
               Partner following a transfer of a General Partner's Interest in accordance
               with the terms of this Agreement;

       (vi)    amend this Agreement (other than with respect to the matters set forth in
               Section 8.1(b)) to effect compliance with any applicable law or regulation
               (including the Investment Advisers Act of 1940, as amended, and ERISA);
               and

       (vii) restate this Agreement together with any amendments hereto that have
                been duly adopted in accordance herewith to incorporate such
               amendments in a single, integrated document.

 (e)   The General Partner must give written notice of any proposed amendment to this
       Agreement (oilier than any amendment of the type contemplated by clauses
       (d)(ii), (d)(iii), (d)(v) or (d)(vii) of Section 8.1) to all of the Limited Partners,
       which notice must set forth (i) the text of the proposed amendment or (ii) a



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              summary thereof and a statement that the text thereof will be furnished to any
              Limited Partner upon request.

       (0     The General Partner has the absolute discretion to agree with a Limited Partner to
              waive or modify the application of any provision of this Agreement with respect
              to such Limited Partner without obtaining the consent of any other Limited
              Partner (other than a Limited Partner who is materially and adversely affected by
              such waiver or modification).

8.2    Special Power of Attorney

       (a)    Each Partner hereby irrevocably makes, constitutes and appoints the Gencral
              Partner (and each of its successors and permitted assigns), with full power of
              substitution, the true and lawful representative and attorney-in-fact of, and in the
              name, place and stead of, such Partner with the power from time to time to make,
              execute, sign, acknowledge, swear to, verify, deliver, record, file or publish:

              (i)    an amendment to this Agreement that complies with the provisions of this
                     Agreement (including the provisions of Section 8.1);

              (ii) the Certificate and any amendment thereof required because this
                      Agreement is amended, including an amendment to effectuate any change
                      in the membership of the Partnership or in the capital contributions of the
                       Partners; and

              (iii) all such other instruments, documents and certificates which, in the
                       opinion of legal counsel to the Partnership, may from time to time be
                       required by the laws of the United States of America, the State of Texas,
                       or any other jurisdiction in which the Partnership determines to do
                       business, or any political subdivision or agency thereof, or which such
                        legal counsel may deem necessary or appropriate to effectuate, implement
                        and continue the valid and subsisting existence and business of the
                        Partnership as a limited partnership or to effect the dissolution or
                       termination of the Partnership.

        (b)   Each Limited Partner is aware that the terms of this Agreement permit certain
              amendments to this Agreement to he effected and certain other actions to he taken
              or omitted by or with respect to the Partnership without his consent. If an
              amendment of the Certificate or this Agreement or any action by or with respect
              to the Partnership is taken by the General Partner in the manner contemplated by
              this Agreement, each Limited Partner agrees that, notwithstanding any objection
              which such Limited Partner may assert with respect to such action, the General
              Partner in its sole discretion is authorized and empowered, with full power of
              substitution, to exercise the authority granted above in any manner which may he
              necessary or appropriate to permit such amendment to be made or action lawfully
              taken or omitted. Each Partner is fully aware that each other Partner relies on the
              effectiveness of this special power-of-attorney with a view to the orderly



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               administration of the affairs of the Partnership. This power-of-attorney is a
               special power-of-attorney and is coupled with an interest in favor of the General
               Partner and as such:

               (i) is irrevocable and continues in full force and effect notwithstanding the
                        subsequent death or incapacity of any party granting this power-of-
                        attorney, regardless of whether the Partnership or the General Partner has
                        had notice thereof; and

               (ii) survives the delivery of an assignment by a Limited Partner of the whole
                        or any portion of his Interest, except that where the assignee thereof has
                        been approved by the General Partner for admission to the Partnership as a
                        substituted Limited Partner, this power-of-attorney given by the assignor
                        survives the delivery of sueh assignment for the sole purpose of enabling
                        the General Partner to execute, acknowledge and file any instrument
                        necessary to effect such substitution.

8.3     Notices

        Notices which may or arc required to he given under this Agreement by any party to
another arc given by hand delivery, transmitted by teleeopicr facsimile or by registered or
certified mail, return receipt rcqucstcd. and arc addressed to the respective parties hereto at their
addresses as set forth on the register of Partners maintained by the General Partner or to such
other addresses or facsimile numbers as may be designated by any party hereto by notice
addressed to (i) the General Partner, in the case of notice given by any Limited Partner, and (ii)
each of the Limited Partners, in the case of notice given by the General Partner. Notices are
deemed to have been given when delivered by hand or transmitted by telecopier facsimile or on
the date indicated as the date of receipt on the return receipt.

8.4    Agreement Binding Upon Successors and Assigns

        This Agreement is binding upon and inures to the benefit of the parties hereto and their
respective successors, but the rights and obligations of the Partners hereunder are not assignable,
transferable or delegable except as provided herein, and any attempted assignment, transfer or
delegation thereof which is not made pursuant to the terms hereof is void.

8.5    Governing Law

        This Agreement and the rights of the Partners hereunder are governed by and construed
in accordance with the laws of the State of Texas, without regard to the conflict of laws rules
thereof. The parties hereby consent to exclusive jurisdiction and venue for any action arising out
of this Agreement in Harris County. Texas. Each Partner consents to service of process in any
action or proceeding involving the Partnership by the mailing thereof by registered or certified
mail, postage prcpaid, to such Partner's mailing address set forth in the register of Partners
maintained by the General Partner.




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8.6    Not for Benefit of Creditors

       The provisions of this Agreement are intended only for the regulation of relations among
Partners and between Partners and former or prospective Partners and the Partnership. This
Agreement is not intended for the benefit of non-Partner creditors and no rights are granted to
non-Partner creditors tinder this Agreement.

8.7    Consents

        Any and all consents, agreements or approvals provided for or permitted by this
Agreement must he in writing and a signed copy thereof must be filed and kept with the books of
the Partnership.

8.8    Merger and Consolidation; Division

        (a)   The Partnership may merge or consolidate with or into one or more limited
              partnerships formed under the TBOC or other business entities pursuant to an
              agreement of merger or consolidation that has been approved by the General
              Partner and Limited Partners whose Partnership Percentages represent more than
              fifty percent (50%) of the aggregate Partnership Percentages of all Limited
              Partners.

        (h)    Notwithstanding anything to the contrary contained elsewhere in this Agreement,
               an agreement of merger or consolidation approved in accordance with Section
                . (a) hereof may (i) effect any amendment to this Agreement, (ii) effect the
               adoption of a new partnership agreement for the Partnership if it is the surviving
               or resulting limited partnership in the merger or consolidation, or (iii) provide that
               the partnership agreement of' any other constituent partnership to the merger or
               consolidation (including a limited partnership formed for the purpose of
               consummating the merger or consolidation) is the partnership agreement of the
               surviving or resulting limited partnership.

        (c)    The General Partner has the authority to effect a transaction, without the consent
               of any Limited Partner, having the effect of splitting the Partnership into two
               separate entities, one of which is excluded from the definition of "investment
               company" pursuant to Section 3(c)(1) of the Company Act and the other of which
               is so excluded pursuant to Section 3(c)(7) of the Company Act, provided that
               (i) such transaction does not result in any material change in the rights, privileges
               and obligations of any Limited Partner, (ii) each Limited Partner's indirect
               beneficial interest in the net assets of the surviving entity of which such Limited
               Partner is a beneficial owner is substantially identical to such indirect beneficial
               interest in the net assets of the Partnership immediately prior to such transaction
               and (iii) there is no material difference between the Partnership and each
               surviving entity other than investor eligibility requirements relating to the
               Company Act exclusion on which the surviving entity relies.




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8.9     Interpretation of Partnership Accounting Systems and Terminology

         In the event that the Partnership employs an accounting system which is different from
the accounting system of the General Partner or whose terminology does not conform precisely
to the terminology in this Agreement, the Genera! Partner sha!l have the authority to interpret
such accounting system andior tenninology in a manner which it, in its sole discretion,
determines to he consistent with the objectives of this Agreement.

8.10    Miscellaneous

        (a)    The captions and titles preceding the text of each Section hereof arc disregarded
               in the construction of this Agreement.

        (h)    This Agreement may be executed in counterparts, each of which is deemed to be
               an original hereof

        (c) In the event an ambiguity or question of intent or interpretation arises, the
                Partners intend that this Agreement be construed as if drafted jointly by the
                Partners and that no presumption or burden of proof arise favoring or disfavoring
                any Partner by virtue of the authorship of any of tile provisions of this Agreement.
                Any reference to any federal, state, local, or foreign statute or law is deemed also
                to refer to all rules and regulations promulgated thereunder, unless the context
                requires otherwise. The word "including" means including without limitation.
                The word "or" is not exclusive. All words used in this Agreement are construed
                to he of such gender or number as the circumstances require.

        (d)    The Partners intend that each representation, warranty, and covenant contained
               herein has independent significance. If any Partner has breached any
               representation, warranty, or covenant contained herein in any respect. the fact that
               there exists another representation, warranty, or covenant relating to the same
               subject matter (regardless of the relative levels of specificity) that such Partner
               has not breached does not detract from or mitigate the fact that such Partner is in
               breach of the first representation. warranty, or covenant.

        (c)    If any provision of this Agreement is held invalid or unenforceable by any court
               of competent jurisdiction, the other provisions of this Agreement will remain in
               full force and effect. All)' provision of this Agreement held invalid or
               unenforceable only in part or degree will remain in full force and effect to the
               extent not held invalid or unentbrceablc.

8.11    Entire Agreement

       This Agreement constitutes the entire agreement among the parties hereto pertaining to
the subject matter hereof and supersedes all prior agreements and understandings pertaining
thereto. It being acknowledged and agreed that the General Partner on its own behalf or on
behalf of the Partnership without the consent or approval of any other Partner may enter into
written agreements (each, an "Other Agreement") with Limited Partners, executed
contemporaneously with the admission of such Limited Partners to the Partnership, affecting the


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terms hereof in order to meet certain requirements of such Limited Partners. The parties hereto
agree that any terms contained in an Other Agreement with a I 'imited Partner govern with
respect to such Limited Partner notwithstanding the provisions of this Agreement.

                              [SIGNATURE PAGE FOLLOWSI




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       IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the day
and year first-above written.

                                         GENERAL PARTNER:

                                         CMG Management, LP

                                         By:     Garrison Capital Management, LLC, its
                                                 General Partn


                                                 By       )\    (I                   --
                                                 Na :iirs Mi              Garrison
                                                 Title: Manaier



                                         LIMITED PARTNERS:

                                         By: CMG Management, LP, Attorney-in-fact
                                               for the Limited Partners


                                                 By:    Garrison Capital Management, LLC,
                                                        its Gcriirat Partnc',


                                                        By:         /       11/
                                                        Namcle                 c 0 rrison
                                                        Title: M'anazer



                                         o     G TIONAL LIMITED PARTNER:

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                              Exhibit B

                    Written Notices of Withdrawal
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                                            H TQ.B
                                            INVESTMäNT5



       Septernber 27,2012

       Moruoe Carrison, Presiclent
       Garison Municipal Paltners, LP
       5847 San Felipe
       suire 2125
       l-Iouston, Texas 77057

       Dear Moruoe,

       Please accept this wlitten notice to voluntarily rvithdraw 100 percent of ihe Limited
       Parhrçr Interest in Garrison Municipal Píìrtners, I-P elïèctive inlnediately, pursuant to
       Section 5.5 otlthe parlnership ¿igreernent,

       Please prclvide me as soon as possible, leeclback as to yot¡r expected payout schedule fr¡r
       the pzu'tnership interests covered by this request. Tire ¡rroceecls should be transferrecl irito
       I-LR.B. Oil & Gas, Ltd.'s managed accourlt with Morgan Stanley Smith Barney, into oash
       and equivalent instruments with liquidity structtues of seven days or less.



       Limited Partncrshirr Interest                                         Account Number'

       II.R.B. Oil & Gas, Ltcl                                                  927-10s835-008


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      Margaret lìright Voticler' l:[oya
      Plesident, VI-IPM, I-LC
      GeneralPartner,I{.R,8. Oil & Gas. Ltcl.




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                        Margaret Brighf Vonder Hoya Trust



Septenrber 27   ,7012

lVlonroe Garrison, President
Garrison Municipal Partners, I-,P
5847 San Felipe
Suite 2125
Houston, Texas 77A57

f)ear Monroe,

Please accept this written notice to voluntarily withdralv 100 percent of the [,imited
Iì¿rrtner Interest   in Garrison Municipal Partners.I-P effective irnmediately, pursl¡ant to
Section 5.5 of the partnership agrcement.

Please provide me as soon ¿rs possible, lbedback as to your expected payout schedr"rle for
the parlnership interests covered by this reúluest. The proceeds shoulcl be transferred into
Margaret Bright Vonder Hoya'&'ust UWO H.It. lìright's managecl account rvith Morgan
Stanley Sr¡ith Barney, into cash ancl ecluivalenï instruments rvith liquidity structures   of
seven clays or less.



          Partnershi                                                   A

Margaret Rright Voncler i-Ioya T'rust LJWO I-1.R. Iìright              927-1 05836-008



fhilnk you,


lxorryr.r* S*.,p-            Ç* k[¿.,,å*-,-
Margaret Bright Voticler Lloya, Trustee
Margaret Bright Vouclor Hoya "lì'ust UWO Il.R. Bright
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                         Margnret Bright Vantler Floya




September 27,2412

Monroe (iarrison, Presiclent
Garison Murricipal Partners, l.P
5847 San F'elipe
suire 2125
I:{ot¡ston, Texas 77 t57

Dear Monrcle,

                                                          all hut 85,120,000 ol'the
Please accept this written notice to voluntarily witirclrarv
Lirnited Partner Interest in Carrison Municipal Partners, LP elfective irnmediately,
pril'suent to Section 5,5 of the partnership agreemenl,

Please provide me as soon ¿ls possible, lècclback as Io your expected payout schedule for
the lraltnership ìnterests covelecl by this request. The proceeds shor.rlcl be transferred into
my man¿Ìged accorutt with Morgan Stanley Smith Batney, into cash and equivalent
instn¡ments rvith Iiquidity slructtrres of seven clays or less.


Limited Pnrtnersh       Interest                                      Account Number

Margaret Bright Voucler Hoya                                          927- I 05837-008




Thnnk you,


 hn   a,-nau*    b*p ,ú;,J".ô*
Margaret Bri glrt Vonclet' I-{oya
Individually
Case 14-32867 Document 277 Filed in TXSB on 09/20/17 Page 85 of 96




                         Margaret llright Vonder Hoya




Noven:,ber 1,2012

Moruoe Ganison, President
Garrison Municipal Partners, LP
5847 San Felipe
Suite 2125
Houston, J'exas 77t57

Dear Monroe,

As you know I wor.rld have pre.flerreci to give cash to fund tlrese Tntsts, but since the fund
dicln't have that liqu:iclity, I have gilred the Garrison Municipal Fund, LP interests. That
being saic1, I still expect these Trusts along with the rest of the holdings in the fiutcl to be
liquidated in as timely a manner as possible, as previously cliscussecl.




Thank you,




Margaret Bright Vondel Hoya
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                                                                                                                               1.713,220.9181
                  HIRSCH &WESTHEIMER                                                                                           F.713.223.9319
                                                  Attoneys and Counselors                                                      elipper@hirschwest.com




                                                        November               22,2{',r^13



Greg Waller                                                                                                        Fax: (713) 238-7304
Kelly Sandill
Andrews Kurth
600 Travis, Suite 42OO
Houston, Texas 77OO2
             Re;          No, 2013- 63132 J, P, Bryan and Margaret Vonder Hoya vs, Garrison
                          Municlpal Partners, LÞ, et al.: ln the l64th District Court, Harris
                          County, Texas.
Dear Mr. Waller and Ms, Sandill:
      please see the attached which we are forwarding to your client through
you on behalf of J. P. Bryan. We will be recording the Revocations of Power
of Attorney with the Harris County Clerk.
                                                                     Very truly yours,
                                                                     HIRSCH & WESTHEIMER, P.C.



                                                                      By
                                                                                           F c kl n
                                                                              Assistant to Eric LiPPer

Enclosures




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                                                                ¡NßRGY rtDVrSORS

         J, P, Ert¡n
         Cùìtl ßrtrctlr Olf co


          November                                    22,2t13

          Momoe Garrison, President
          Garrison Municipal Partners, LP
          5847 San Felipe, Suite 2125
          I-Iouston, Texas 77057

              c/o Greg Waller                                                      Fax: (713) 238-7344
              Andrews Kurth
              600 Travis, Suite 4200
              Houston, Texas 77002

              Dear Monroe:

              please accept this written notice to voluntarily withdraw 100 percent of the Limited
              partnership Interest of J. P. Bryan, Bryan Consolidated Business Interests, J.P. and Mary
              Jon Bryan Foundation and Mary Jon Bryan in Garrison Municipal Partners, LP effective
              immediately, pursuant to Section 5.5 of the partnership agreement.

              Please provide me as soon as possible, feedback as to your expectedpayout schedule
                                                                                                    for
                                                                                        transfered to
              the parinership interests ooveied by this request. The proceeds should be
              Cadence Bank, into cash and equivalent instruments with liquidity structures of seven
              days or less. Please contaot me if you have any questions'




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                                        Rr,vocAT!çi\r oF SowER-pr AITORNEY

THE STATE OF TEXAS                                    $
                                                      $                   KNOW ALL MEN BY THESE PRESENTS
COUN'|Y OF HARRIS                                     $




            I,   J.P. Bryan,               a         domiciliary   of Harris County, Texas together with            Bryan

Consolidated Business Interests, Ltd., Chisos, Ltd., .I.P. and Mary Jon Bryan Foundation,
Adeline James Trust, Ava Leigh Bryan Trust, Bryan James Trust, [loise James Trust,
Gwyneth Austin Bryan Trust and Josephine James Trustn affîliated entities of which I
control or tru¡ts for which I serve as Ilrustee, do hereby revoke any General or Special Power
of Attorney previously executed by me and naming as my attorney-in-fact either
            (i)          Monroe Garrison; or
            (iÐ          Garrison Capital Management, L.L.C';
            Such revocation is effective                    immediately'                    V/-
            IN WIîNESS WI-IEREOF, I have set my hand this                             i6'     duv   ot     a

2013


                                                                     J       AN

THE STATE OF TEXAS                                     $
                                                       $
COTINTY OF FIARzuS                                     $


      BEF'ORE ME, the u¡dersigned authority, on this day personally appeared J.P. Bryan,
known to me to be the person 1riho*" name is subscribed to the foregoing instrument, and
acknowledged to me thai he executed the same for the purpCIses and consideration therein
expressed,
                                                                                      yb
            GIVEN under my hand and seal of office this                           6         day of       Ð re,tut
20r3
                                                                                             t9
                                                                     NOTARY PUB         STATE        F
                                PTMTTS FAD€€TT
                             MY COI'MISSION EXPIRES
                                   Sillrmùor   20,   gotõ
                                                                     SEAL:


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                                              B$Yoc4rroN oF PgwER pT ATT()RNEY

THE STATE OF TEXAS                                       $
                                                         $               KNOW ALL MEN BY THESE PRESENTS;
COUNTY OF HARRIS                                         $




               I, Mary Jon Bryan, a domiciliary of Harris County, Texas, do hereby                                 revoke any

General or Special Power of Attomey previously executed by me and naming as my attorney-in-
fact either
               (i)              Monroe Ganison; or
               (iÐ              Garrison Capital Management, L.l,.C.;
               Such revocation is effective                  immediately.                    {-
                                                                                     ,,,.1
                                                                                                              r1
               IN V/lTNtrSS WHEREOF, I have                       set my hand this -'*ã*.--.day     of

2t13




THE STATE OF TEXAS                                       $
                                                         $
COUNTY OF HARzuS                                         $


       BHFORB MIi, the urdersigned authority, on this day personally appeared Mary .Ion
Bryan, known to me to be the persotr whose name is subscribed to the furegoing instrument, and
acknowledgecl to me that she executed the same fi¡r the purposes and consideration therein
expresscd.                                                                           ., t
                                                                                      í*                 ,I

                                                                                 /¿ I
                GIVEN under my hand and seal of office this                    j-Ò--        clay   of
2013


                                                                  NOT      Y        C, STATE OF
                                    PHruSPåDGEN
                                MY CO$,lMlSglON EXPIRES
                                     SaplnrÙet20' 2015            SEAL:




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                   Proposed Order




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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

In re:                                                   §
                                                         §
GARRISON MUNICIPAL PARTNERS,                             §                  Case No. 14-32867
LP                                                       §                     (Chapter 7)
                                                         §
          DEBTOR.                                        §


       ORDER APPROVING CHAPTER 7 TRUSTEE’S OMNIBUS OBJECTION AND
      SUPPLEMENT TO OMNIBUS OBJECTION TO PROOFS OF CLAIM FILED BY
          LIMITED PARTNERS OF GARRISON MUNICIPAL PARTNERS, L.P.
                   PURSUANT TO BANKRUPTCY RULE 510(b)

    [Claim Nos. 2, 3, 4, 5, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28,
                29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, and 45]

          Came on for consideration the Trustee’s Omnibus Objection to Proofs of Claim Filed by

Limited Partners of Garrison Municipal Partners, L.P. and Trustee’s Supplement to Omnibus

Objection to Proofs of Claim Filed by Limited Partners of Garrison Municipal Partners, L.P.

(collectively, the “Omnibus Objection”) filed by Rodney D. Tow, the Chapter 7 Trustee (the

“Trustee”) of Garrison Municipal Partners, L.P. (the “Debtor”), seeking entry of an order (i)

reclassifying the Claims1 of the Claimants set forth on Exhibit A attached hereto as equity

claims; (ii) allowing the Claims in the Allowed Claim Amount as set forth on Exhibit B; and (iii)

eliminating the duplicate claims set forth on Exhibit A.

          Came on for consideration Don and Kay Green’s Response to the Omnibus Objection

[Docket No. 252] and Brief Regarding Mandatory Subordination under 11 U.S.C. § 510(b)

[Docket No. 274], filed by Don and Kay Green in support of the Green’s Objection to the




1
              Capitalized terms used but not defined herein have the meanings ascribed to them in the Omnibus
              Objection.
                                                        1
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Omnibus Objection, and the Trustee’s Reply to the Green’s Response to Omnibus Objection,

filed by the Trustee in support of the Omnibus Objection.

          It appearing to the Court that the notice of time for creditors and parties-in-interest to

object to the Omnibus Objection and the hearing date on the Omnibus Objection is appropriate

notice under the circumstances of this case and as set out in the allegations in the Omnibus

Objection; and this Court having determined that the relief requested in the Omnibus Objection

is in the best interest of the Chapter 7 estate, its creditors and other parties-in-interest; and after

due consideration of the pleadings and objections, if any filed, the evidence adduced at the

hearing on the Omnibus Objection and the reasons stated on the record at the hearing seeking

approval of the Omnibus Objection:

IT IS HEREBY FOUND AND DETERMINED THAT:2

           A.       The Debtor is a limited partnership organized in February 2008 under the laws of

    the State of Texas.

           B.       The Partnership is a pooled investment fund with 18 limited partner investors.

           C.       The purported primary objective of the Partnership was to invest in the municipal

    bond market.

           D.       The Partnership is controlled by a certain Limited Partnership Agreement (the

    “Agreement”).

           E.       The Greens hold a limited partnership in the Partnership.

           F.       On November 13, 2013, the Greens sought to withdraw as Limited Partners from

    the Partnership and to recover their equity investment in the Partnership. [Claim No. 2, Ex. B].




2
          Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as
          findings of fact to the fullest extent of the law. See Fed. R. Bankr. P. 7052.
                                                          2
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        G.      Section 5.5(b) of the Agreement provides that Investors may voluntarily

withdraw their limited partnership interest in the Debtor by means of written notice. [Claim No.

2, Ex. C, at ¶ 5.5(b).].

        H.      There is no evidence that the Debtor issued a promissory note, debt instrument,

or any other form of repayment to the Greens in response to their withdrawal from the

Partnership.

        I.      The Green’s ownership interest in the Debtor constitutes a “security” within the

meaning of Section 510(b) of the Bankruptcy Code. See 11 U.S.C. § 101(49)(A)(xiii)(defining

the term “security” to “include [an] interest of a limited partner in a limited partnership).

        J.      As holders of limited partnership interests in the Debtor, the Greens do not have

a claim against the Debtor. See 11 U.S.C. § 501(a) (stating that “[a]n equity security holder

may file a proof of interest.”).

        K.      The Green’s Claim is a claim for breach of contract damages arising from the

purchase of a security of the Debtor pursuant to Section 510(b) of the Bankruptcy Code. See

Pensco Trust Co. v. Tristar Esperanza Properties, LLC (In re Tristar Esperanza Properties,

LLC), 782 F.3d 492, 495 (9th Cir. 2015).

        L.      The Green’s Claim and the other claims of the limited partners should be

reclassified as equity claims because they are subject to mandatory subordination under Section

510(b) of the Bankruptcy Code.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:

        1.      All responses to the Omnibus Objection, as they pertain to the entry of this

Order, are overruled to the extent they have not been withdrawn, waived or otherwise resolved.

        2.      The duplicative Claims set forth on Exhibit A shall be eliminated from the

claims register.
                                                 3
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       3.      The Claims set forth on Exhibit A to this Order shall be reclassified and

subordinated to the level of equity claims pursuant to section 510(b) of the Bankruptcy Code.

       4.      The Claims shall be allowed in the Allowed Claim Amount, as set forth on

Exhibit B to this Order.

       5.      Local bankruptcy rule 3007-1(f) is waived for the purposes of the Omnibus

Objection.

       6.      This Court retains jurisdiction with respect to all matters arising from or related

to the implementation of this Order.

              Dated this __ day of ______, 2017.




                                            KAREN K. BROWN
                                            UNITED STATES BANKRUPTCY JUDGE




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                                      Exhibit A

                         Claimants and Claims Objected To

 Claimant                      Claim Number/s Duplicate Claim   Claim to be
                                                                Reclassified and
                                                                Subordinated
 Bradford Clay Vonder Hoya          18, 32           32                18
 2012 Trust
 Bryan Consolidated                 25, 44           44                25
 Business Interests
 Donald J. Green                      2                                 2
 Elizabeth Carrie Petty 2012        10, 34           34                10
 Trust
 Elizabeth Maples                   21, 29           29                21
 HRB Global LTD                     16, 36           36                16
 HRB Oil & Gas LTD                  13, 37           37                13
 Jay Steven Adelson                   5                                 5
 JP Bryan                           26, 45           45                26
 JP & Mary Jon Bryan                24, 43           43                24
 Foundation
 Margaret Louise Petty              19, 31           31                19
 Morris 2012 Trust
 Margaret Louise Bright             27, 41           41                27
 Petty Testamentary Trust
 Margaret Vonder Hoya               15, 40           40                15
 Margaret Vonder Hoya               12, 33           33                12
 Grandchildren's Trust
 Margaret Vonder Hoya               14, 39           39                14
 Trust
 Mary Jon Bryan                     23, 42           42                23
 Michael J. Maples, Sr.             20, 30           30                20
 Michael Maples, Jr.                22, 28           28                22
 MJMJR LTD                          11, 38           38                11
 Nathan Bright Petty 2012           17, 35           35                17
 Trust
 Patricia Allred Thomas               3                                 3
 Robert Kevin Rose                    4                                 4




                                             5
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                                                                              Exhibit B

                                                         Allowed Claim Amounts for Claimants



                                                               Cash Transactions            Non-Cash Transactions
                                                                                                                                                            Adjusted Balance and
                     Limited Parter                       Investments     Distributions            Investments        Total          Reclassification       Allowed Claim Amount
   Allowed
   Claim No.
1. 26          JP Bryan                                    1,820,000.00      (748,835.16)             (601,164.84)     470,000.00                    0.00                 470,000.00
2. 25          Bryan Consolidated Business Interests       3,075,000.00      (660,400.00)                     -      2,414,600.00                    0.00               2,414,600.00
3. 24          JP & Mary Jon Bryan Foundation                100,000.00       (45,000.00)                     -         55,000.00                    0.00                  55,000.00
4. 23          Mary Jon Bryan                              2,500,000.00              -                 200,000.00    2,700,000.00                    0.00               2,700,000.00
5. 15          Margaret Vonder Hoya                        8,799,959.98        (1,323.30)              200,040.02    8,998,676.70             -153,360.60               8,845,316.10
6. 16          HRB Global LTD                              5,298,834.61    (2,202,124.33)              701,165.39    3,797,875.67                    0.00               3,797,875.67
7. 2           Donald J Green                              1,900,000.00      (275,000.00)                     -      1,625,000.00                    0.00               1,625,000.00
8. 14          Margaret Vonder Hoya Trust                    500,000.00        (2,280.16)              350,000.00      847,719.84                    0.00                 847,719.84
9. 22          Michael J Maples, Jr.                       3,000,000.00              -                        -      3,000,000.00                    0.00               3,000,000.00
10.11          MJMJR LTD                                     100,000.00              -                        -        100,000.00                    0.00                 100,000.00
11.20          Michael J Maples, Sr.                       2,500,000.00              -                        -      2,500,000.00                    0.00               2,500,000.00
12.13          HRB Oil & Gas LTD                             700,000.00        (1,454.26)                     -        698,545.74                    0.00                 698,545.74
13.5           Jay Steven Adelson                            500,000.00      (172,816.00)                     -        327,184.00                    0.00                 327,184.00
14.4           Robert Kevin Rose                             250,000.00      (150,000.00)              350,000.00      450,000.00                    0.00                 450,000.00
15.3           Patricia Allred Thomas                      4,000,000.00              -                        -      4,000,000.00                    0.00               4,000,000.00
16.21          Elizabeth Maples                            1,100,000.00              -               1,200,663.93    2,300,663.93                    0.00               2,300,633.93
17.12          Margaret Vonder Hoya Grandchildren's                 -         (30,647.86)                     -        (30,647.86)              30,647.86                       0.00
18.17          Nathan Bright Petty 2012 Trust                       -         (30,647.86)                     -        (30,647.86)              30,647.86                       0.00
19.19          Margaret Louise Petty Morris 2012 Trust              -         (30,647.86)                     -        (30,647.86)              30,647.86                       0.00
20.10          Elizabeth Carrie Petty 2012 Trust                    -         (30,647.86)                     -        (30,647.86)              30,647.86                       0.00
21.18          Bradford Clay Vonder Hoya 2012 Trust                 -         (30,647.86)                     -        (30,647.86)              30,647.86                       0.00
22.            The Maples Descendants Trust                         -                -                        -               -                      0.00                       0.00
23. 27         Margaret Louise Bright Petty Testamen                -            (121.30)                     -           (121.30)                 121.30                       0.00




                                                                                     6
